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              13                         UNITED STATES DISTRICT COURT
              14                       CENTRAL DISTRICT OF CALIFORNIA

              15 UNITED STATES OF AMERICA ex rel.             CASE NO. 2:16-cv-08697-MWF (SSx)
                 BENJAMIN POEHLING,
              16                                              [Discovery Document: Referred to
                                                              Magistrate Judge Suzanne H. Segal]
              17                    Plaintiffs,
                                                              UNITED’S NOTICE OF MOTION
              18            v.                                TO COMPEL THE UNITED
                                                              STATES TO PRODUCE
              19 UNITEDHEALTH GROUP, INC., et al.,            DOCUMENTS
              20                                              [Joint Stipulation Regarding United’s
                           Defendants.                        Motion to Compel, Declaration of
              21                                              David J. Schindler, and [Proposed]
                                                              Order filed concurrently herewith]
              22
                                                              Date: December 11, 2018
              23                                              Time: 10:00 a.m.
                                                              Courtroom: 590
              24                                              Judge: Hon. Suzanne H. Segal
              25                                              Discovery Cutoff: TBD
                                                              Pre-Trial Conference: TBD
              26                                              Trial: TBD
              27
              28

                                                              UNITED’S NOTICE OF MOTION TO COMPEL THE
ATTORNEYS AT LAW
  LOS AN GE LES
                                                                 UNITED STATES TO PRODUCE DOCUMENTS
                                                                          CASE NO. 2:16-cv-08697-MWF(SSx)
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                   1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                   2        PLEASE TAKE NOTICE that pursuant to Local Rule 37, on December 11,
                   3 2018 in the courtroom of the Honorable Suzanne H. Segal, located at 255 E.
                   4 Temple St., Los Angeles, CA, 90012, Courtroom 590, 5th Floor, United will and
                   5 hereby does move for an order granting its Motion to Compel the United States to
                   6 Produce Documents on the bases set forth in the concurrently filed Joint
                   7 Stipulation.
                   8        United’s motion is based on this Notice and Motion, the concurrently filed
                   9 Joint Stipulation, exhibits, and declaration in support; any pleadings, files, and
              10 records in this action; and further evidence or argument as this Court may consider.
              11            As set forth in the Joint Stipulation, the parties have met and conferred
              12 regarding these issues, including via letters and multiple teleconferences. Despite
              13 these extensive meet-and-confer efforts, the parties have been unable to resolve
              14 their disputes and, therefore, United seeks the assistance of the Court.
              15
              16 Dated: November 9, 2018
              17
              18                                      LATHAM & WATKINS LLP

              19
              20
              21                                       By: /s/ David J. Schindler
                                                           David J. Schindler
              22
                                                           Attorneys for Defendant
              23                                           United Defendants
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                                                           1      UNITED’S NOTICE OF MOTION TO COMPEL THE
ATTORNEYS AT LAW
  LOS AN GE LES
                                                                     UNITED STATES TO PRODUCE DOCUMENTS
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              13                         UNITED STATES DISTRICT COURT
              14                       CENTRAL DISTRICT OF CALIFORNIA

              15 UNITED STATES OF AMERICA ex rel.             CASE NO. 2:16-cv-08697-MWF (SSx)
                 BENJAMIN POEHLING,
              16                                              [Discovery Document: Referred to
                                                              Magistrate Judge Suzanne H. Segal]
              17                    Plaintiffs,
                                                              JOINT STIPULATION
              18            v.                                REGARDING UNITED’S NOTICE
                                                              OF MOTION AND MOTION TO
              19 UNITEDHEALTH GROUP, INC., et al.,            COMPEL THE UNITED STATES
                                                              TO PRODUCE DOCUMENTS
              20
                           Defendants.                        [Notice of Motion, Declaration of David
              21                                              J. Schindler, and [Proposed] Order
                                                              filed concurrently herewith]
              22
                                                              Date: December 11, 2018
              23                                              Time: 10:00 a.m.
                                                              Courtroom: 590
              24                                              Judge: Hon. Suzanne H. Segal
              25                                              Discovery Cutoff: TBD
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              26                                              Trial: TBD
              27
              28

                                                                 JOINT STIPULATION REGARDING UNITED’S
ATTORNEYS AT LAW
  LOS AN GE LES
                                                              MOTION FOR ORDER COMPELLING THE UNITED
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                                                                             i          JOINT STIPULATION REGARDING UNITED’S
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                   1 I.     INTRODUCTORY STATEMENTS
                   2        A.     United
                   3        The government is withholding vast quantities of highly relevant documents
                   4 based solely on unsupportable assertions of the deliberative process privilege. The
                   5 government has not remotely made the required showing that particular
                   6 documents are covered by that privilege. On the contrary, the government instead
                   7 has adopted boilerplate explanations for withholding literally thousands of
                   8 documents created over the course of more than a decade. Not only are those
                   9 threadbare descriptions inadequate to sustain the privilege, but many of them
              10 undermine it, suggesting that the documents contain factual matters rather than
              11 deliberations about significant agency decisions.         Moreover, it is has become
              12 apparent that the Department of Justice failed to consult with the relevant agency
              13 before making its sweeping privilege assertions. For these reasons alone, the Court
              14 should compel the production of these documents.
              15            The government expressly committed to providing a declaration from the
              16 Centers for Medicare and Medicaid Services (“CMS”) by the end of September—
              17 more than 6 months after producing its first privilege log and more than 3.5 months
              18 after United’s request for such a declaration—claiming it would remedy these
              19 deficiencies. Just days before it was supposed to provide the declaration, however,
              20 the government reneged on its agreement and is now refusing to provide an agency
              21 declaration until Judge Fitzgerald issues rulings on all four of the government’s
              22 pending motions. The government is, yet again, improperly attempting to dictate
              23 the flow of discovery in direct contradiction to Judge Fitzgerald’s standing order,
              24 his comments during the scheduling conference, and repeated statements from this
              25 Court that the government cannot unilaterally refuse to engage in discovery.
              26            Even before the government’s abrupt about-face, the government was
              27 unwilling or unable for months to provide any meaningful description of what its
              28 declaration would look like or even the categories of documents it would cover,

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                   1 claiming that doing so would not be “efficient or useful” before the end of
                   2 September. The government provided no meaningful details or assurances that it
                   3 could, or adequately would, support its expansive assertions of the deliberative
                   4 process privilege over many thousands of highly relevant documents.               The
                   5 government outright refused to provide any detail regarding any of the individual
                   6 documents withheld, instead claiming in conclusory fashion that the no-longer-
                   7 forthcoming declaration would explain how undisclosed categories of documents
                   8 are both “predecisional” and “deliberative.”         The government’s described
                   9 declaration merely pays lip service to its privilege assertions and does not satisfy
              10 its burden of demonstrating the applicability of the narrow, qualified deliberative
              11 process privilege. As this Court has noted previously, the government chose to
              12 bring this lawsuit, and it is improper for the government to ignore its discovery
              13 obligations or hamstring United’s defense by withholding critical documents.
              14            Even if the government’s assertions of privilege had merit (and they do not),
              15 the privilege is a qualified one and is readily overcome here by United’s need for
              16 these critical documents. As detailed below, these documents are directly relevant
              17 to the government’s sole remaining False Claims Act claim (a reverse False Claims
              18 Act claim), including to show that: CMS officials themselves believe that
              19 conducting one-way reviews is proper; United did not receive an overpayment;
              20 United did not knowingly and improperly retain an overpayment; and United’s
              21 alleged failure to delete codes did not materially impact the government’s decision
              22 to continue paying and contracting with United. These documents also are directly
              23 relevant to the government’s two common law claims, Payment by Mistake and
              24 Unjust Enrichment, to demonstrate both that (a) the government was not mistaken
              25 at the time it paid these claims—rather it is DOJ that is mistaken in pursuing a
              26 theory predicated on the notion that CMS somehow did not know that United was
              27 performing one-way looks—and (b) United was never unjustly enriched. Finally,
              28 the documents that the government is withholding are relevant to interpreting the

                                                            2        JOINT STIPULATION REGARDING UNITED’S
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                   1 meaning of the ambiguous contractual and regulatory provisions on which the
                   2 government relies, as well as to damages.
                   3        The government is the sole custodian of this relevant discovery, so United
                   4 cannot obtain it from a third party. The government’s motive for attempting to
                   5 shield these documents is transparent: the limited evidence in United’s possession
                   6 thus far—some of which the Department of Justice attempted to assert the
                   7 deliberative process privilege over, despite having produced it in response to a
                   8 Freedom of Information Act request—directly supports United’s position (among
                   9 others) that CMS officials shared its views that conducting one-way looks was
              10 perfectly appropriate.
              11            Therefore, because the government has failed to satisfy its burden of
              12 substantiating its privilege claims, and because United’s need for these highly
              13 relevant and critical materials outweighs any interest the government has in non-
              14 disclosure, the Court should grant United’s motion and compel the production of
              15 all documents that the government is withholding solely on the basis of the
              16 deliberative process privilege.
              17            B.    Government
              18            This lawsuit alleges that UnitedHealth Group and the affiliated Defendants
              19 (“United” or “Defendants”) knowingly failed to delete diagnosis codes that its own
              20 reviews revealed to be unsupported by the beneficiaries’ medical charts. As a
              21 result, United retained billions of dollars in risk-adjusted payments from the
              22 Medicare Advantage (“MA”) program to which it was not entitled.
              23            Despite the large amount of Medicare trust funds at issue, this lawsuit
              24 reduces to the question of whether United knowingly failed to comply with its
              25 legal obligation to delete unsupported diagnosis codes. United has attempted to
              26 distract from this central issue by arguing that a payment disparity could exist
              27 based on the manner in which MA plans are paid in comparison to so-called fee-
              28 for-service (“FFS”) providers. Based upon this contention, United seeks far flung

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                   1 discovery in an attempt to obtain evidence that this purported payment disparity
                   2 exists and entitles United to knowingly refrain from making deletes as part of some
                   3 “self-help” measure. Most notably, United improperly seeks access to internal
                   4 agency discussions about regulatory impact statements, documents relating to
                   5 medical loss ratios, and draft regulations and policies that do not bear on the
                   6 obligation to delete unsupported diagnosis codes or have any impact on the direct
                   7 relationship between diagnosis codes and risk-adjusted payments.
                   8        The discovery that United seeks is irrelevant, not to mention burdensome
                   9 and oppressive. As with most federal programs, the rules that govern the payment
              10 of claims are established by statute, regulation, and in this case, by the MA
              11 Contract – which is a written agreement by which participating Medicare
              12 Advantage Organizations (“MAOs”) promise to comply with “applicable Federal
              13 statutes, regulations, and policies,” including, for example, the Medicare Managed
              14 Care Manual. Those rules make it clear that MAOs such as United have a legal
              15 obligation to delete diagnosis codes known to be unsupported by a beneficiary’s
              16 medical record. Any argument about the payments that United and other MA
              17 plans received for supported diagnosis codes is irrelevant to the obligation to delete
              18 unsupported codes or the damages that resulted from their failure to delete those
              19 unsupported codes.
              20            To address the overbreadth of United’s discovery, the government has
              21 moved for a protective scheduling order seeking to limit the scope of discovery in
              22 a manner that comports with the principles of relevance and proportionality set
              23 forth in Rule 26, Fed. R. Civ. P. That motion is now fully briefed and pending
              24 with Judge Fitzgerald. See Dkts. 261, 278. The Court should await a ruling on
              25 that motion before taking up United’s motion to compel. United has the threshold
              26 burden of demonstrating relevancy before the government is obligated to perfect
              27 privilege under Rule 26(b)(5), and that question is now before Judge Fitzgerald.
              28 Deferring consideration of the privilege issues until discovery parameters have

                                                            4        JOINT STIPULATION REGARDING UNITED’S
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                   1 been set by Judge Fitzgerald in a Rule 16 or Rule 26 order would thus be the most
                   2 efficient and appropriate way to proceed at this juncture, given United’s threshold
                   3 burden under Rule 26.
                   4        Moreover, contrary to United’s assertion, even if United’s “self-help”
                   5 defense were somehow viable, the government is not withholding non-deliberative
                   6 factual information pertaining to the rate of unsupported diagnosis codes reported
                   7 by providers in claims submitted to FFS Medicare programs (Parts A and B).
                   8 Information regarding that subject was recently publicly released by the Centers
                   9 for Medicare and Medicaid Services (“CMS”) and, as with other relevant
              10 documents, can be found on its website.
              11            The Court should not countenance United’s attempt to turn purely legal
              12 issues into factual ones in order to obtain irrelevant material from the government.
              13 The legal obligation to delete unsupported diagnosis codes has already been
              14 resolved by the Ninth Circuit. And even if that were not the case, the contentions
              15 and counter-contentions in this case involve legal questions that are not resolved
              16 by what an agency’s employees may have recorded in internal, non-public
              17 memoranda or emails. Indeed, as for Defendants’ scienter, agency documents
              18 heretofore unknown to United are not probative of what United knew at the time it
              19 was including, or refraining from deleting unsupported codes in its Medicare
              20 claims.
              21            Finally, even if the Court were to take up this motion in advance of Judge
              22 Fitzgerald’s rulings on relevance, as explained in the agency declarations
              23 submitted with this stipulation, the government has properly withheld documents
              24 from production in full accordance with the principles that govern the deliberative
              25 process privilege.        United’s motion can thus be rejected on that additional,
              26 alternative ground.
              27
              28

                                                            5        JOINT STIPULATION REGARDING UNITED’S
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                   1 II.    DELIBERATIVE PROCESS PRIVILEGE ASSERTIONS
                   2        A.    United
                   3        1.    Procedural and Factual Background
                   4        On November 17, 2017, the government filed a 166-page, 364-paragraph
                   5 Amended Complaint-In-Intervention, alleging violations of the False Claims Act
                   6 and two common law claims, Payment By Mistake and Unjust Enrichment, and
                   7 seeking substantial damages and other remedies. On February 12, 2018, Judge
                   8 Fitzgerald dismissed the government’s three affirmative False Claims Act counts,
                   9 leaving only a reverse False Claims Act count and the two common law claims.
              10            United served its first document requests on the government in August 2017.
              11 Roughly 13 months later, the government has produced only approximately 47,600
              12 documents but has withheld as privileged over 25,200 documents. See Exs. 1–7,
              13 United States’ Privilege Logs Nos. 1–7.1 Of those 25,200 withheld documents, the
              14 government has asserted solely the deliberative process privilege over
              15 approximately 21,400 documents.2               And of those 21,400 documents, the
              16 government has only produced about 1,060 documents with redactions—meaning
              17 the government is withholding in full over 20,300 documents (95%) based solely
              18 on the deliberative process privilege. Id.
              19            Rather than provide the requisite level of detail to sustain assertions of the
              20 deliberative process privilege, the government instead grouped these documents
              21 into incredibly broad categories on its privilege logs, often using identical
              22 descriptions for thousands of documents that span over a decade. None of these
              23 descriptions identifies a discrete policy decision, let alone a significant one, about
              24
              25       1
                   Citations to “Ex.” materials refer to exhibits to the Declaration of David J.
              26 Schindler filed herewith.
                 2
                   The government has also asserted the deliberative process privilege in
              27 conjunction with other privileges over approximately 1,880 documents. Only
                 approximately 1,980 documents out of the approximately 25,200 that the
              28 government is withholding do not involve the deliberative process privilege.

                                                            6         JOINT STIPULATION REGARDING UNITED’S
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                   1 which any alleged deliberations took place. Nor do any of these descriptions
                   2 describe how the particular documents are part of the deliberative process. The
                   3 government has made it effectively impossible to challenge any particular
                   4 document because there are virtually no descriptions of how a particular document
                   5 was part of any predecisional or deliberative process.       The below examples
                   6 highlight the significant flaws in these privilege logs, which are replete with
                   7 similarly overbroad categories. See id., United States’ Privilege Logs Nos. 1–7.
                   8 The government is withholding:
                   9         Approximately 6,400 documents “reflecting internal agency deliberations
              10              regarding RADV audit methodology.” These documents span from
                              September 2003 to July 2017.
              11
              12             Approximately 3,320 documents “reflecting internal agency deliberations
                              regarding calculation of RA error rate.” These documents span from
              13              September 2004 to April 2017.
              14
                             Approximately 2,330 documents “reflecting internal agency deliberations
              15              regarding calculation of RA factors/model.” These documents span from
              16              January 2003 to April 2017.

              17             Approximately 1,680 documents “reflecting internal agency deliberations
                              regarding Advance Notice and/or Announcement and Call Letter.” These
              18              documents span from January 2003 to April 2017.
              19
                             Approximately 1,390 documents “reflecting internal agency deliberations
              20              regarding FFS adjuster.” These documents span from January 2004 to
              21              May 2017.

              22             Approximately 1,010 documents “reflecting internal agency deliberations
              23              regarding calculation of coding intensity adjuster.” These documents
                              span from November 2004 to March 2017.
              24
                             Approximately 970 documents “reflecting internal agency deliberations
              25              regarding RA supporting documentation requirements.”           These
              26              documents span from January 2004 to May 2017.
              27
              28

                                                           7        JOINT STIPULATION REGARDING UNITED’S
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                   1          Approximately 660 documents “reflecting internal agency deliberations
                   2           regarding” either “UHG RADV audits” or “non-UHG RADV audits.”
                               These documents span from March 2004 to May 2017.
                   3
                   4          Approximately 635 documents “reflecting internal agency deliberations
                               regarding medical coding in support of RA payments.” These documents
                   5           span from March 2004 to May 2017.
                   6          Approximately 545 documents “reflecting internal agency deliberations
                   7           regarding” “UHG RA activities” and “non-UHG RA activities.” These
                               documents span from October 2004 to February 2017.
                   8
                   9          Approximately 500 documents “reflecting internal agency deliberations
                               regarding RA training materials.” These documents span from April
              10               2004 to March 2017.
              11
                              Approximately 470 documents “reflecting internal agency deliberations
              12               regarding coding guidance.” These documents span from June 2005 to
              13               April 2016.

              14              Approximately 215 documents “reflecting internal agency deliberations
                               regarding” “return of overpayments to CMS,” “RA overpayment
              15               analysis,” “recovery of overpayments,” “RA overpayment reporting
              16               requirements,” and “CMS overpayment policy.” These documents span
                               from July 2006 to November 2015.
              17
              18              Approximately 215 documents “reflecting internal agency deliberations
                               regarding coding intensity in MA Program.” These documents span from
              19               August 2006 to September 2015.
              20
                             Even a cursory review of these categories demonstrates the impropriety of
              21
                       the government’s privilege assertions.     It defies credibility to suggest that
              22
                       deliberations over what RA audit methodology to adopt spanned 14 years or that
              23
                       discussions of RA error rates are anything other than purely “factual” discussions
              24
                       that fall far outside the deliberative process. These same temporal defects and
              25
                       attempts to shield purely factual information are readily apparent in each of the
              26
                       categories above.
              27
              28

                                                             8        JOINT STIPULATION REGARDING UNITED’S
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                   1        United sent a letter to the government on June 15, 2018 that, among other
                   2 things, detailed the numerous deficiencies in the government’s privilege log
                   3 descriptions and expressed United’s concern that the privilege assertions had been
                   4 made by lawyers at the Department of Justice without any input from any relevant
                   5 agency. Ex. 8, United’s June 15, 2018 Ltr. United requested that the government
                   6 (1) revise its privilege logs to provide the requisite detail about the information
                   7 over which the government claimed the privilege applied, and (2) provide a formal
                   8 claim of privilege by an appropriate agency official who had personally reviewed
                   9 the relevant documents. Id. The government refused to re-evaluate or revise its
              10 privilege log descriptions, instead insisting that United needed to revise its own
              11 logs first—the exact type of “tit-for-tat” discovery that this Court has explained is
              12 improper. See Ex. 9, United States’ June 29, 2018 Ltr.; Ex. 10, Tr. of Aug. 16,
              13 2018 Hr’g at 22:18–20.
              14            Despite United’s commitment during a July 30 meet and confer to revise its
              15 privilege logs (as the government requested), the government still refused to
              16 address its deficient privilege logs and claimed that it needed to see United’s
              17 revised logs before it would even consider whether and how to revise its logs. See
              18 Ex. 11, United’s Aug. 2, 2018 Ltr.; Ex. 12, United’s Aug. 9, 2018 Ltr. The
              19 government demanded that United explain how to revise the privilege log
              20 descriptions, but United explained that it could not do so because it had no insight
              21 into the substance of the underlying documents—though United did point the
              22 government to case law in which government agencies provided descriptions that
              23 were much more detailed than the government’s descriptions here and yet were
              24 still found to be insufficient by the court. See Ex. 11, United’s Aug. 2, 2018 Ltr.;
              25 Ex. 12, United’s Aug. 9, 2018 Ltr. During the July 30 meet and confer, United
              26 also reiterated its concern that the Department of Justice had asserted the
              27 deliberative process privilege without first consulting CMS.
              28

                                                            9        JOINT STIPULATION REGARDING UNITED’S
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                   1        United sought an informal discovery conference before this Court because of
                   2 the government’s continued refusal to take any steps to ameliorate its deficient
                   3 privilege descriptions or commit to providing an agency declaration, in addition to
                   4 the government’s sudden refusal to continue producing privilege logs.3 The Court
                   5 recommended that the parties come up with mutually-agreeable categories for the
                   6 government’s assertions of the deliberative process privilege. Ex. 10, Tr. of Aug.
                   7 16, 2018 Hr’g at 28:8–14.
                   8        Shortly after the conference, the government informed United that, at some
                   9 undetermined time in the future, it would provide an agency declaration that
              10 purportedly would “perfect” the privilege assertions. See Ex. 13, United States’
              11 Aug. 20, 2018 Ltr. The government provided no meaningful information about the
              12 substance of the forthcoming declaration, merely stating that it would explain why
              13 the documents were predecisional and deliberative. Id. The government did not
              14 share the categories it intended to use for the agency declaration, despite this
              15 Court’s recommendation that the parties develop mutually-agreeable categories.
              16 Indeed, the government explicitly declined United’s request to discuss the
              17 categories as the Court had directed.
              18            The government originally stated that it needed until September 30 to
              19 provide the agency declaration—3.5 months after United first made its request for
              20 such a declaration. United also suggested that the government provide an excerpt
              21 of the declaration, which would allow United to assess whether the declaration was
              22 likely to cure any of the deficiencies with the government’s privilege assertions.
              23 The government rejected United’s suggestion because it “[did] not believe it would
              24 be efficient or useful for the parties for [the government] to provide an excerpt of
              25 [its] declaration in advance of September 30.” Ex. 14, A. Likoff Aug. 27, 2018
              26
                 3
                   During the conference, this Court explained that the government could not simply
              27 refuse to engage in discovery, and the government shortly thereafter began
                 producing privilege logs again—albeit with the same deficiencies as its prior
              28 privilege logs.

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                   1 Email. Nevertheless, it “commit[ted] to providing UnitedHealth with a declaration
                   2 by September 30, 2018.” Id.
                   3        On September 24, just days before it was supposed to provide the agency
                   4 declaration, the government told United that it was no longer honoring its
                   5 commitment and now intended to wait until Judge Fitzgerald ruled on all four of
                   6 the government’s pending motions. See Ex. 14, P. Freeborne Sept. 24, 2018
                   7 Email.    The government claimed that Judge Fitzgerald stated he needed to
                   8 determine the scope of discovery before this Court could rule on discovery
                   9 motions, and the government claimed—as it has on multiple occasions—that it
              10 would not engage in discovery that might be obviated by future rulings.                Id.
              11 Contrary to the government’s strained interpretation of the September 17 hearing,
              12 although Judge Fitzgerald stated he would likely need to confer with this Court
              13 about relevant issues, he never stated that he had to issue rulings on all pending
              14 motions before this Court could proceed to hear discovery disputes. See Ex. 15,
              15 Tr. of Sept. 17, 2018 Hr’g at 54–56. In fact, he expressly stated that, under the
              16 Local Rules, “the matter’s entirely up to [Judge Segal].” Id. at 54:14–17.
              17            Both Judge Fitzgerald and this Court have repeatedly rejected the
              18 government’s attempts to skirt its discovery obligations on the grounds that future
              19 rulings might alter the scope of discovery. See, e.g., Ex. 16, Tr. of Dec. 18, 2017
              20 Conf. at 13:16–14:2 (“[W]e tend not to halt discovery in the anticipation that [a
              21 party] may win their motion for partial summary judgment. . . . [W]e generally let
              22 the defendant proceed to address the allegations in the complaint through discovery
              23 and we don’t [] wait.”); Ex. 17, United’s Rule 16 Opp’n at 20–21. Despite these
              24 admonitions, the government has persisted with its “pocket veto” strategy. See,
              25 e.g., Ex. 17, United’s Rule 16 Opp’n at 1, 5–6, 20–21. The government’s sudden
              26 refusal to provide an agency declaration flouts Judge Fitzgerald’s and this Court’s
              27 instructions and is nothing more than yet another brazen attempt to prevent United
              28 from obtaining highly relevant and critical documents.

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                   1        United has attempted to work cooperatively with the government to
                   2 minimize the scope of the parties’ dispute. But United cannot be expected to
                   3 simply wait around for the government to engage in discovery whenever it sees fit.
                   4 The government chose to continue producing privilege logs with the same
                   5 deficiencies that United raised in its June 15 letter—logging over 18,500
                   6 documents after that letter—rather than address the issue. The government refused
                   7 to revise its privilege logs. It initially refused to provide an agency declaration,
                   8 then committed to providing one at the end of September, then refused to honor
                   9 that commitment. It refused to provide an excerpt of the declaration. It refused to
              10 share with United what categories it planned to use. The government’s unjust
              11 refusals to cure the severe deficiencies with its assertions of the deliberative
              12 process privilege, as well as its recent refusal to provide an agency declaration,
              13 warrant the production of all materials that the government is currently
              14 withholding solely on that basis.
              15                   a.    Medicare Advantage and the Risk Adjustment Process
              16            Under the MA program, see 42 U.S.C § 1395w-21 et seq., private insurers
              17 like United create insurance plans (“MA plans”) in which Medicare-eligible
              18 individuals may choose to enroll. Under traditional Medicare, CMS directly
              19 reimburses health care providers using a “fee-for-service” (“FFS”) payment system
              20 in which providers submit claims to CMS for reimbursement for services
              21 rendered. Under the MA program, CMS makes predetermined monthly payments
              22 to MA plans that are based on a value attributed to each diagnosis code submitted
              23 by medical providers, adjusted for demographic data. CMS is required to pay MA
              24 plans in a manner that ensures “actuarial equivalence” with what Medicare pays
              25 directly to care for similar patients in the Medicare program. 42 U.S.C. § 1395w-
              26 23(a)(1)(C)(i).
              27            The FFS system covers millions of people, so it is unsurprising that the
              28 associated data contains known errors, including diagnosis codes submitted by

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                   1 providers for patients that do not actually have the illness or condition the
                   2 diagnosis code indicates. See, e.g., Ex. 18, APA Op. at 7 (“Humans being human,
                   3 diagnoses in healthcare records may be miscoded, inappropriately added, or
                   4 otherwise faulty by accident or mal intent.”). CMS sets the rates it pays to MA
                   5 plans according to what CMS itself pays under traditional Medicare to care for
                   6 patients with those same diagnosis codes—without attempting to correct for those
                   7 discrepancies by auditing the FFS claims data to confirm that the diagnosis codes
                   8 are properly supported by charts. See id. at 16–17. Thus, the existence of
                   9 beneficiaries whose provider assigned them a particular diagnosis code but who do
              10 not actually have the associated condition is built into the payment model. Id. at 7
              11 (“The risk adjustment model is built on unaudited [traditional Medicare] data . . .
              12 which must contain errors.” (citing CMS Mot.)). Put differently, because CMS’s
              13 payment model uses unaudited claims data from the traditional Medicare program
              14 that contain numerous unsupported codes, the resulting payment amounts that
              15 CMS sets for the MA program already account for the existence of unsupported
              16 codes.       See id. at 16 (“[T]he rates at which CMS pays Medicare Advantage
              17 insurers are based on flawed data across the millions of people in traditional
              18 Medicare.”).
              19            If an MA plan were required to repay funds associated with every
              20 unsupported code, without first determining whether the plan’s rate of unsupported
              21 codes exceeded the rate already accounted for in the payment model, the
              22 government would receive an unfair windfall: the government first would have the
              23 benefit of lower payment rates that reflect the existence of its own unsupported
              24 codes in the model, and then the government would lower its payments a second
              25 time on the back end because of the presence of comparable numbers of
              26 unsupported codes within the MA plan’s data that had already been accounted for
              27 in the model. See, e.g., id. at 16–17 (“[W]ithout some kind of adjustment, . . .
              28 Medicare Advantage insurers will be paid less to provide the same healthcare

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                   1 coverage to their beneficiaries than CMS itself pays for comparable patients. This
                   2 inequity is inevitable because CMS sets Medicare Advantage rates based on costs
                   3 that are presumed, based on traditional Medicare diagnosis codes, to be associated
                   4 with particular health status information that is not verified in underlying patient
                   5 records.”). Id. at 17; see Ex. 19, United’s Mot. for Partial Summ. J. Opp’n at 12,
                   6 19, 22–26.
                   7        A recent decision from the U.S. District Court for the District of Columbia
                   8 in another lawsuit involving United and the government holds conclusively that
                   9 CMS must take into account the errors in its own data before it can determine if
              10 errors in an MA’s data gives rise to an overpayment.4 See generally Ex. 18, APA
              11 Op. Put simply, there cannot be an overpayment unless the error rate in an MA
              12 plan’s data exceeds the error rate in CMS’s own data. And if United’s error rate is
              13 less than the government’s own error rate, then United likely has been underpaid.
              14 See id. at 2, 9–10, 15–22.
              15            At bottom, the government alleges that United submitted diagnosis codes to
              16 CMS that United knew were unsupported and failed to correct, which—the
              17 government alleges—resulted in United being overpaid. United seeks discovery
              18 related to what the government knew about errors in United’s data and, more
              19 importantly, what the government knew about errors in its own data, because the
              20 latter bears directly on whether United was overpaid. However, the government is
              21 withholding documents on these very topics by making improperly expansive
              22 categorical assertions of the deliberative process privilege, despite (or perhaps
              23 because of) the obvious importance of such documents to the claims and defenses
              24 in this case. See supra at 21–30.
              25
                 4
                   United intends to submit appropriate briefing in the future related to the impact of
              26 the APA decision. As relevant here, however, the APA decision (1) confirms
                 United’s theory that the government must account for errors in its own data when
              27 determining whether an overpayment exists, and (2) only bolsters United’s
                 arguments about the importance of the discovery it seeks, which the government is
              28 attempting to shield.

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                   1         2.     Argument
                   2         The government has failed to meet its burden of establishing the propriety of
                   3 its deliberative process privilege assertions. First, the privilege logs produced by
                   4 the government contain threadbare descriptions that do not establish whether any
                   5 document is predecisional and deliberative, and the agency declaration described in
                   6 broad strokes by the government—and which the government now refuses to
                   7 provide—will not cure these deficiencies. Second, even if the government were
                   8 somehow able to establish the privilege, United’s need for the information
                   9 outweighs any governmental interest in non-disclosure. Accordingly, this Court
              10 should grant United’s Motion and order the production of all documents that the
              11 government is withholding based solely on the deliberative process privilege.5
              12                    a.    The Government Fails to Assert Properly the Deliberative Pro-
              13                          cess Privilege
                             The deliberative process privilege is a qualified privilege that applies only in
              14
                       limited circumstances. See FTC v. Warner Commc’ns Inc., 742 F.2d 1156, 1161
              15
                       (9th Cir. 1984). Courts construe the privilege strictly and narrowly.           See N.
              16
                       Pacifica, LLC v. City of Pacifica, 274 F. Supp. 2d 1118, 1122 (N.D. Cal. 2003)
              17
                       (“[T]he [deliberative process] privilege is strictly confined within the narrowest
              18
                       possible limits consistent with the logic of its principles.”) (internal quotation and
              19
                       citation omitted); Cal. Native Plant Soc’y v. U.S. Envtl. Prot. Agency, 251 F.R.D.
              20
                       408, 410 (N.D. Cal. 2008) (“[C]ourts should construe the [deliberative process]
              21
                       privilege narrowly and strictly.”). Although the privilege is designed to protect the
              22
                       quality of agency decisionmaking by encouraging candid discussion among
              23
                       policymakers and preventing premature disclosure of contemplated agency policies
              24
                       or decisions, the narrow privilege applies only to documents that are both
              25
              26
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                   This Motion concerns only documents over which the government has asserted
              27 solely the deliberative process privilege. The government, however, uses the same
                 deficient privilege log descriptions to support its assertions of other privilege.
              28 United reserves its right to challenge these assertions.

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                   1 “predecisional” and “deliberative in nature”—not to purely factual material. See
                   2 Warner Commc’ns Inc., 742 F.2d at 1161; Hongsermeier v. Comm’r of Internal
                   3 Revenue, 621 F.3d 890, 904 (9th Cir. 2010) (quoting N.L.R.B. v. Sears, Roebuck &
                   4 Co., 421 U.S. 132, 150 (1975)). The government has the burden of establishing
                   5 that the deliberative process privilege protects the materials at issue. See, e.g., N.
                   6 Pacifica, LLC, 274 F. Supp. 2d at 1121.
                   7         A document is considered “predecisional” if it was “prepared in order to
                   8 assist an agency decisionmaker in arriving at his decision.” Carter v. U.S. Dep’t of
                   9 Commerce, 307 F.3d 1084, 1089 (9th Cir. 2002) (holding that adjusted census data
              10 held back based on accuracy concerns was not “predecisional” because it was
              11 originally prepared for the purpose of dissemination to the public) (quotations and
              12 citation omitted); Assembly of State of Cal. v. U.S. Dept. of Commerce, 968 F.2d
              13 916, 920 (9th Cir. 1992) (noting that a “predecisional” document is one “prepared
              14 in order to assist in an agency decisionmaker in arriving at his decision” and that
              15 “documents deemed ‘postdecisional’ do not enjoy the protection of the deliberative
              16 process privilege”) (quoting Sears, Roebuck & Co., 421 U.S. at 153).
              17             A document or statement is deemed “deliberative” only if it was a direct part
              18 of the deliberative process in that it makes recommendations or expresses opinions
              19 on significant legal and policy matters. See Vaughn v. Rosen, 523 F.2d 1136, 1144
              20 (D.C. Cir. 1975) (“[P]re-decisional materials are not exempt merely because they
              21 are pre-decisional; they must also be a part of the agency give-and-take of the
              22 deliberative process by which the decision itself is made.”); see also Allen v.
              23 Woodford, No. CV-F-05-1104, 2007 WL 309945, at *5, *9 (E.D. Cal. Jan. 30,
              24 2007) (stating that the deliberative process privilege only applies to documents
              25 relating to a larger policy formulation, not a single, trivial decision, such as
              26 whether to fire a single employee). Indeed, “documents that merely reflect an
              27 agency’s formal or informal guidelines or understanding of its own policies should
              28 be produced, even if they are not final or official agency policy.”                   Nat’l

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                   1 Immigration Law Ctr. v. U.S. Immigration & Customs Enforcement, No. CV 14-
                   2 9632 PSG (MANx), 2015 WL 12684437, at *9 (C.D. Cal. 2015); see also Coastal
                   3 States Gas Corp. v. Dep’t of Energy, 617 F.2d 854, 867 (D.C. Cir. 1980) (finding
                   4 deliberative process privilege not applicable to agency’s interpretations of
                   5 regulations applied by auditors, noting that “an agency will not be permitted to
                   6 develop a body of ‘secret law,’ used by it in the discharge of its regulatory duties
                   7 and in its dealings with the public, but hidden behind a veil of privilege because it
                   8 is not designated as ‘formal,’ ‘binding,’ or ‘final’”).
                   9         The deliberative process       privilege “must      satisfy specific, formal
              10 requirements for proper invocation,” and courts impose heightened requirements
              11 for asserting government privileges because “they effectively deny an adversary
              12 the opportunity to inquire into perhaps dispositive areas of fact.” Martin v. Albany
              13 Bus. Journal, 780 F. Supp. 927, 932–33 (N.D.N.Y 1992); see L.H. v.
              14 Schwarzenegger, No. CIV. S-06-2042 LKK/GGH, 2007 WL 2009807, at *3 (E.D.
              15 Cal. July 6, 2007) (stating that the privilege “should be narrowly construed because
              16 confidentiality may impede full and fair discovery of the truth.”) To satisfy its
              17 burden, the government must provide: “(1) a formal claim of privilege by the head
              18 of the department possessing control over the requested information, (2) an
              19 assertion of the privilege based on actual personal consideration by that official,
              20 and (3) a detailed specification of the information for which the privilege is
              21 claimed, along with an explanation of why it properly falls within the scope of the
              22 privilege.” Coleman v. Schwarzenegger, Nos. CIV S-90-0520 LKK JFM P, C01-
              23 1351TEH, 2008 WL 2237046, at *4 (E.D. Cal. & N.D. Cal. May 29, 2008)
              24 (internal quotation and citation omitted). Neither the government’s privilege logs
              25 nor the vague description of the agency declaration—which the government is now
              26 refusing to provide—satisfies this burden.
              27             First, the privilege logs produced by the government are facially deficient.
              28 They contain only “generalized allegations and self-serving, conclusory statements

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                   1 regarding privilege” that are insufficient to sustain the deliberative process
                   2 privilege. See Dominguez v. Schwarzenegger, No. C 09-2306 CW (JL), 2010 WL
                   3 3341038, at *4 (N.D. Cal. Aug. 25, 2010). The basic document descriptions
                   4 provided by the government do not provide a “detailed specification of the
                   5 information for which the privilege is claimed, along with an explanation of why it
                   6 properly falls within the scope of the privilege.” Id. at *5. The government’s
                   7 privilege log descriptions set forth no specific policy decisions, let alone
                   8 significant policy decisions. See id. The descriptions fail to detail how any
                   9 document fits into the deliberative process. See, e.g., Cal. Native Plant Soc’y, 251
              10 F.R.D. at 413 (“Conclusory statements that a document is deliberative do not
              11 suffice”).        Accordingly, the privilege log descriptions do not satisfy the
              12 government’s burden of establishing that any documents are both predecisional
              13 and deliberative. Id.; Dominguez, 2010 WL 3341038, at *5 (ordering production
              14 of all documents over which the government invoked solely the deliberative
              15 process privilege where government failed to identify specific policy decisions at
              16 issue) (internal quotation and citation omitted)).6
              17            These generic descriptions, which the government has applied in boilerplate
              18 fashion to large swaths of documents spanning many years, do not adequately
              19 describe the content of the purported deliberations and fail to provide the requisite
              20 level of detail to establish that the documents properly fall within the scope of the
              21 deliberative process privilege. For example, as previously set forth (supra at 5–6),
              22 the government is using basic descriptions on its privilege logs such as: “RADV
              23 audit methodology” (approximately 6,400 documents withheld); “calculation of
              24 RA error rate” (approximately 3,320 documents); “Advance Notice and/or
              25
              26      6
                  The government should not be withholding in full documents that contain factual
                 (or other) materials that do not qualify for this narrow privilege. This does not
              27 appear to be the case, however, considering the government is withholding in full
                 approximately 95% of documents over which it is asserting solely the deliberative
              28 process privilege and thus is only redacting approximately 5% of these documents.

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                   1 Announcement and Call Letter” (approximately 1,680 documents); “FFS adjuster”
                   2 (approximately 1,390 documents); “UHG RADV audits” or “non-UHG RADV
                   3 audits” (approximately 660 documents); “UHG RA activities” and “non-UHG RA
                   4 activities” (approximately 545 documents); and “RA training materials”
                   5 (approximately 500 documents). Many of these categories, such as the calculation
                   6 of the error rate in the government’s own data, the calculation of the RA factors in
                   7 CMS’s payment model, and UHG and non-UHG RADV audits, describe “[p]urely
                   8 factual material that does not reflect deliberative processes” and to which the
                   9 deliberative process privilege does not apply—as this Court has already
              10 recognized. See Warner Commnc’ns Inc., 742 F.2d at 1161; Ex. 20, Tr. of July 12,
              11 2018 Hr’g at 64:24–65:3 (“[T]he deliberative process privilege . . . applies to
              12 things that . . . really reflect deliberations as opposed to a factual finding.”). Yet
              13 the government is withholding in full nearly 95% of the documents over which it is
              14 asserting solely the deliberative process privilege.
              15            Furthermore, these broad categories span extended periods of time—some as
              16 many as over 14 years—that undermine any notion that all of the documents
              17 grouped in the category are both predecisional and deliberative. Coupled with the
              18 basic privilege descriptions, the protracted time periods do not identify a specific
              19 significant policy decision or provide any insight into how the documents are
              20 deliberative. For example, the government is withholding approximately 1,390
              21 documents spanning from January 2004 to May 2017 “reflecting internal agency
              22 deliberations regarding FFS adjuster.” This description fails to detail any specific
              23 significant policy decision related to the FFS adjuster—such as the government’s
              24 decision in February 2012 to adopt a FFS adjuster—and the “FFS adjuster”
              25 description is so generic that it prevents United from assessing whether any
              26 particular document is predecisional. Nor does this basic description provide any
              27 insight into how any documents were part of the deliberative process.
              28

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                   1        As another example, the government is withholding nearly 6,400 documents
                   2 spanning from September 2003 to July 2017 “reflecting internal agency
                   3 deliberations regarding RADV audit methodology.” This description similarly
                   4 fails to explain what significant policy decision related to the RADV audit
                   5 methodology is at issue or how the documents were part of the agency decision-
                   6 making process. RADV audits began taking place in 2008, so using such a broad
                   7 description for a nearly 14-year period provides no detail about how any
                   8 documents are predecisional or even how the decision spanned 14 years. The
                   9 government’s assertion of privilege over approximately 1,680 documents
              10 “reflecting internal agency deliberations regarding Advance Notice and/or
              11 Announcement and Call Letter” from January 2003 to April 2017 suffers from the
              12 same infirmities. The description does not even identify which Advance Notice,
              13 Announcement, or Call Letter—documents CMS issues multiple times per year—
              14 is at issue, let alone how any particular document fits into the deliberative process.
              15            The government’s privilege log deficiencies also prevent United from
              16 properly assessing whether any purported deliberations were ultimately adopted by
              17 the agency. This is problematic because ultimate adoption by the agency would
              18 obviate any claim of deliberative process privilege. See Nat’l Res. Def. Council v.
              19 U.S. Dep’t of Defense, 388 F. Supp. 2d 1086, 1098 (C.D. Cal. 2005) (“Even if the
              20 document is predecisional at the time it is prepared, it can lose that status if it is
              21 adopted, formally or informally, as the agency position on an issue or is used by
              22 the agency in its dealings with the public.” (quoting United States v. Rozet, 183
              23 F.R.D. 662, 666 (N.D. Cal. 1998)).
              24            The agency declaration that the government has now refused to provide—
              25 after refusing for months to provide it, finally committing to provide it by the end
              26 of September, and then reneging on that commitment—would not have cured the
              27 flaws in the government’s privilege assertions. As an initial matter, it appears that
              28 lawyers from the Department of Justice were asserting the deliberative process

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                   1 privilege without first consulting any agency official. This is particularly troubling
                   2 because “a government attorney is precisely who should not be asserting a
                   3 government privilege.” See Chao v. Westside Drywall, Inc., 254 F.R.D. 651, 657
                   4 (D. Or. 2009) (emphasis added); Martin, 780 F. Supp. at 933 (“Only by mandating
                   5 that an accountable executive official invoke a governmental privilege can the
                   6 courts be confident that the privilege is responsibly asserted based on agency goals
                   7 and policies, and is not abused for litigation purposes.”). If the Department of
                   8 Justice failed to consult first with the agency before asserting the deliberative
                   9 process privilege over nearly 20,000 documents, that alone is sufficient to order
              10 production of all materials withheld as it demonstrates a complete failure to follow
              11 the requirements of asserting the deliberative process privilege. See Pac. Gas &
              12 Elec. Co. v. United States, 70 Fed. Cl. 128, 143–44 (2006) (finding the
              13 government’s assertion of the deliberative process privilege prior to obtaining a
              14 supporting affidavit from a government official “procedurally deficient”).
              15             Moreover, even if the government eventually provides one, the Court should
              16 be especially wary of any new agency declaration that serves more as a post-hoc
              17 defense of the Department of Justice’s privilege assertions than a truly independent
              18 claim of privilege by the agency. The government’s extremely broad-brushed
              19 description of the agency declaration it now has refused to provide offers no
              20 assurance to the Court or United that the government will give sufficient detail to
              21 tie thousands of documents that span over a decade to a specific agency decision
              22 and adequately detail how they were part of the deliberative process. See Cal.
              23 Native Plant Soc’y, 251 F.R.D. at 413 (finding agency declarations insufficient to
              24 establish deliberative process privilege where the “statements do not assert the
              25 detail required to show the individual documents' role in the decision making
              26 process”). Indeed, it is difficult to imagine how an agency declaration could
              27 contain sufficiently detailed information to explain how approximately 21,400
              28

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                   1 documents all meet the exacting standard required to assert the deliberative process
                   2 privilege.
                   3        Furthermore, United cannot identify particular documents to challenge or
                   4 submit for potential in camera review by this Court because of the government’s
                   5 failure to provide adequate information in support of its privilege assertions. The
                   6 government has argued that it would be prohibitively burdensome to conduct a
                   7 document-by-document review and provide individualized descriptions. But the
                   8 government should have conducted such a review prior to asserting the deliberative
                   9 process privilege—and, if it did not, the assertions are improper. This Court
              10 should not be forced to assume a burden that the very party asserting the privilege
              11 is unwilling to undertake. Accordingly, because this Court “ha[s] insufficient
              12 information from [the government] as to why disclosure should not be permitted,”
              13 it is likewise “ill-equipped to make any intelligent decisions as to discovery during
              14 an in camera inspection.” See Miller v. Pancucci, 141 F.R.D. 292, 301 (C.D. Cal.
              15 1992) (“[S]hould the threshold requirements not appear in the papers, the privilege
              16 assertion will be overruled in its entirety and complete disclosure will be ordered.
              17 No in camera inspection will occur.”).
              18            In sum, it has been over 13 months since the government received United’s
              19 first set of document requests and over 3.5 months since United first raised issues
              20 related to the government’s fundamentally flawed privilege logs and asked for an
              21 agency declaration. Despite United’s requests, and despite having a protracted
              22 amount of time to cure these deficiencies and provide a sufficient agency
              23 declaration, the government has failed to meet its burden of substantiating its
              24 privilege claims. Consequently, the government has waived its right to assert the
              25 deliberative process privilege over these materials. See, e.g., Dominguez, 2010
              26 WL 3341038, at *6 (finding waiver in light of a party’s “repeated failures to
              27 substantiate their claims of privilege” and ordering production of all information
              28 over which the deliberative process was the sole privilege asserted). The Court

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                   1 should therefore order the production of all documents that the government is
                   2 withholding solely on the basis of the deliberative process privilege. See, e.g.,
                   3 Coleman, 2008 WL 2237046, at *5 (ordering production of materials withheld
                   4 under the deliberative process privilege where neither the government’s privilege
                   5 logs nor the agency declaration established the privilege).
                   6               b.    United’s Need for These Relevant Materials Outweighs Any
                   7                     Government Interest in Non-Disclosure
                   8        Even if the government had properly invoked the deliberative process
                   9 privilege—which it has not—the privilege is qualified and can be overcome by a
              10 sufficient showing of need outweighing the harm that might result from disclosure.
              11 Warner Commc’ns Inc., 742 F. 2d at 1161. The Ninth Circuit has set forth four
              12 non-exclusive factors that courts consider in balancing the competing interests:
              13 “(1) the relevance of the evidence; (2) the availability of other evidence; (3) the
              14 government’s role in the litigation; and (4) the extent to which disclosure would
              15 hinder frank and independent discussion regarding contemplated policies and
              16 decisions.” Id. (citations omitted).7 These factors all weigh heavily in favor of
              17 requiring disclosure.
              18
              19
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                 7
                   Some district courts in Ninth Circuit have considered additional factors, such as
              21 the interest of the litigants, and ultimately society in accurate judicial fact-finding,
                 and the seriousness of the issues involved. See e.g., N. Pacifica, LLC, 274 F. Supp.
              22 2d at 1122; United States v. Irvin, 127 F.R.D. 169, 173 (C.D. Cal. 1989)
                 (enumerating the factors and collecting cases). The parties and society have a clear
              23 interest in accurate fact finding, and the government’s fraud allegations and
                 magnitude of damages sought are serious. See, e.g., Irvin, 127 F.R.D. at 173
              24 (“The desirability of accurate fact finding argues in favor of disclosure (as it would
                 in every case).”); United States v. Berkeley Heartlab, Inc., No. 9:14-cv-00230-
              25 RMG, 11 (D.S.C. June 19, 2017) (concluding in an intervened case involving
                 alleged violations of the federal False Claims Act and federal Anti-Kickback
              26 statute, “The Court has no trouble finding that . . . the litigation is serious.”). Other
                 courts also consider the public’s interest in government transparency, which
              27 weighs heavily in United’s favor here. See, e.g., Reino De Espana v. Am. Bureau
                 of Shipping, No. 03CIV3573LTSRLE, 2005 WL 1813017, at *12 (S.D.N.Y, Aug.
              28 1, 2005).

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                   1                      i.    The Evidence the Government Is Withholding Is Critical
                   2                            to the Claims and Defenses

                   3         As an initial matter, the standard for relevance in litigation is low, and the
                   4 Federal Rules of Civil Procedure afford parties broad discovery of relevant
                   5 evidence. See, e.g., In re Allergan, Inc. Sec. Litig., No. 14-CV-02004, 2016 WL
                   6 5929250, at *2 (C.D. Cal. Oct. 5, 2016) (“The Federal Rules of Civil Procedure
                   7 provide for broad factual discovery. A party ‘may obtain discovery regarding any
                   8 non-privileged matter that is relevant to any party’s claim or defense and
                   9 proportional to the needs of the case . . . .’” (citing Fed. R. Civ. P. 26(b)(1)). The
              10 documents United has requested are crucial for its defenses to the misconduct that
              11 the government has charged.             As detailed below, they bear directly on the
              12 remaining reverse False Claims Act count, the government’s common law claims
              13 of Payment by Mistake and Unjust Enrichment, resolving the meaning of the
              14 ambiguous contractual provisions and regulatory requirements at issue, and
              15 potential damages.
              16             False Claims Act. To prevail on its reverse False Claims Act count, the
              17 government must establish that United “knowingly conceal[ed] or knowingly and
              18 improperly avoid[ed] or decrease[d] an obligation to pay or transmit money or
              19 property to the Government.” 31 U.S.C. § 3729(a)(1)(G); see id. § 3729(b)(3) (an
              20 “obligation” is “an established duty, whether or not fixed, arising from . . . the
              21 retention of any overpayment”).           Evidence about the presence and extent of
              22 unsupported codes in CMS’s own data speaks directly to whether United was
              23 overpaid because if CMS’s rate of unsupported codes was greater than United’s,
              24 there cannot have been any overpayment. Indeed, as Judge Collyer held, requiring
              25 United to delete unsupported codes without CMS doing the same in its data would
              26 result in a systematic underpayment and violate the statutory (and contractual)
              27 requirement of actuarial equivalence. See, e.g., Ex. 18, APA Op. at 15–21; Ex. 19
              28 Partial Summ. J. Opp’n at 22–23, 44–46. United has issued document requests

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                   1 seeking evidence on this very point.      For example, United has sought the
                   2 production of documents related to (1) the Risk Adjustment error rate in CMS’s
                   3 data, (2) a RADV Medicare FFS adjuster, and (3) the RADV audit methodology.
                   4 E.g., RFPs 1, 2, 6, 7. These categories of documents are relevant to, among other
                   5 things, whether United was overpaid merely because it may have received
                   6 payments based on some unsupported codes.          The government, however, is
                   7 asserting solely the deliberative process privilege over approximately 3,320
                   8 documents related to the “calculation of RA error rate,” approximately 1,390
                   9 documents related to the “FFS adjuster,” and approximately 6,400 documents
              10 related to the “RADV audit methodology.” See Exs. 1–7, United States’ Privilege
              11 Logs Nos. 1–7.
              12            The evidence that United has been able to obtain thus far supports its
              13 arguments and undermines the government’s theories—and highlights not only the
              14 relevance of the documents the government is shielding, but also the overbreadth
              15 of the government’s deliberative process privilege assertions in this case. For
              16 example, the government astonishingly attempted to shield documents in this
              17 litigation that it previously produced in response to a FOIA request, with
              18 redactions. See Ex. 21, Presentation from Division of Payment Validation; Ex. 22,
              19 FOIA Agenda; Ex. 23, Tavenner Dep. Tr. 83:10–84:10; Ex. 24, Grant Dep. Tr.
              20 293:12–23. These documents contain notes from an internal CMS presentation
              21 about the need to account for CMS’s own error rate in determining overpayments
              22 and state that adopting an FFS adjuster “from a technical point of view is the right
              23 thing to do” and would “put[] us in the best position to withstand litigation
              24 challenges.” See Ex. 22, Agenda at CMS0006201; see also Ex. 21, Presentation
              25 from Division of Payment Validation. Evidence like this is crucial to showing that,
              26 contrary to the government’s core contention, United was not overpaid merely
              27 because it failed to delete and may have received payment based on unsupported
              28 codes. As another example, Jeffrey Grant (a CMS official who oversaw the

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                   1 creation of the risk adjustment program and one of only two CMS officials
                   2 deposed in this case to date) testified that, assuming the coding intensity
                   3 adjustment fully offsets any activities that an MA plan undertakes to code more
                   4 completely, if a plan were to audit a little as twenty-five percent (or even less) of
                   5 its members’ charts and delete unsupported codes it found—without CMS deleting
                   6 such codes in the FFS data—the MA plan would be underpaid. See Ex. 24, Grant
                   7 Dep. Tr. at 274:22–277:25; Ex. 19, United’s Partial Summ. J. Opp’n at 44–45.
                   8        Yet this is the exact type of evidence the government is seeking to prevent
                   9 United from obtaining through its overly expansive assertion of the deliberative
              10 process privilege. In fact, Judge Collyer rejected the government’s over-expansive
              11 stance on the deliberative process privilege and entered these very same documents
              12 into the administrative record. Ex. 25, APA Mem. Op. on Mot. to Supplement the
              13 Administrative R. at 12. The government’s attempt to invoke the deliberative
              14 process privilege on these documents, despite having produced them in response to
              15 a FOIA request, illustrates its aggressive and overly broad assertions of this limited
              16 privilege over documents at the heart of this case.
              17            The documents the government is withholding on the basis of the
              18 deliberative process privilege also are relevant to scienter. The government’s
              19 interpretations of the requirements imposed on MA plans by CMS statutes, rules,
              20 regulations, and guidance, as well as contracts with MA plans—requirements the
              21 government now claims United violated—shed light on both the meaning of those
              22 requirements and whether United knew that conducting one-way reviews violated
              23 them. See, e.g., Ex. 26, United’s Mot. to Strike Opp’n at 17–18; Ex. 17, United’s
              24 Rule 16 Opp’n at 12–14. Proving that United improperly retained overpayments
              25 requires the government to show that United knew about unsupported codes simply
              26 by virtue of its one-way looks and that United knew that unsupported codes
              27 necessarily resulted in overpayments. See 31 U.S.C. § 3729(a)(1)(G); see also In
              28 re. Pharm. Indus. Average Wholesale Price Litig., 254 F.R.D. 35, 42–44 (D. Mass.

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                   1 2008) (ordering the production of several documents protected by the deliberative
                   2 process privilege because government knowledge could be relevant to both
                   3 scienter and falsity under the False Claims Act).      That, in turn, requires the
                   4 government to prove United knew that there was something improper or fraudulent
                   5 in conducting one-way chart reviews and that United was objectively unreasonable
                   6 in its belief that there was no overpayment so long as the rate of its unsupported
                   7 codes did not exceed CMS’s. See, e.g., Ex. 26, Mot. to Strike Opp’n at 17–18;
                   8 Ex. 17, United’s Rule 16 Opp’n at 12.
                   9        Documents showing the government’s interpretation of MA plans’
              10 obligations under applicable statutes, regulations, guidance documents, and
              11 contractual requirements thus bear directly on the objective reasonableness of
              12 United’s interpretations. See id.; Safeco Ins. Co. v. Burr, 551 U.S. 47, 69–71 &
              13 n.20 (2007) (stating that where multiple “objectively reasonable” interpretations of
              14 a provision exist, “it would defy history and current thinking to treat a defendant
              15 who merely adopts one such [objectively reasonable] interpretation as a knowing
              16 or reckless violator”); United States ex rel. McGrath v. Microsemi Corp., 690 F.
              17 App’x 551, 552 (9th Cir. 2017) (applying Safeco to scienter requirement of False
              18 Claims Act); see also United States v. Pac. Gas & Elec. Co., 178 F. Supp. 3d 927,
              19 963 (N.D. Cal. 2016) (holding that evidence of government’s or other regulated
              20 entities’ interpretation of regulations was relevant to reasonableness of defendant’s
              21 interpretation, regardless of whether defendant actually knew of that evidence).
              22 Additionally, evidence that United’s beliefs were reasonable would help a
              23 factfinder assess whether United actually held its asserted beliefs: “[T]he more
              24 unreasonable the asserted beliefs or misunderstandings are, the more likely the jury
              25 will consider them to be nothing more than simple disagreement with known legal
              26 duties,” and, conversely, the more reasonable the beliefs are, the more likely the
              27 jury is to believe that they were genuinely held. Cheek v. United States, 498 U.S.
              28

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                   1 192, 203–04 (1991). Evidence that government officials agreed with United’s
                   2 interpretations are thus relevant even to United’s subjective beliefs.
                   3         Many of the document requests United has issued also relate to this
                   4 evidence. For example, United is seeking discovery related to: regulations, rules,
                   5 guidance, or other pronouncements setting forth the government’s standards for
                   6 evaluating the accuracy of diagnosis codes reported by MA plans; coding for
                   7 purposes of evaluating the accuracy and adequacy of diagnoses reported by MA
                   8 plans; and CMS instructions and guidelines regarding coding. See RFPs 3, 43, 44.
                   9 But the government is asserting solely the deliberative process privilege over
              10 nearly 2,600 documents related to the “RA supporting documentation
              11 requirements,” “medical coding in support of RA payments,” “RA training
              12 materials,” and “coding guidance.” These types of documents are highly relevant
              13 to scienter and should be produced. See Berkeley Heartlab, Inc., No. 9:14-cv-
              14 00230, 2017 WL 3608241, at *2 (D.S.C. Aug. 22, 2017) (ordering production of
              15 certain documents subject to the deliberative process privilege in part because of
              16 their relevance to defendants’ argument that they lacked the requisite scienter
              17 under the False Claims Act).
              18             The limited evidence United has been able to obtain thus far supports
              19 United’s argument that its interpretations were objectively reasonable.                  For
              20 example, Jeffrey Grant testified that he believed an MA plan’s submission of an
              21 unsupported code would be improper only if it was making the “very specific
              22 submission of a very specific data element . . . that [it] know[s] is wrong.” Ex. 24,
              23 Grant Dep. Tr. at 321:21–23. He stated that performing one-way reviews that add
              24 diagnosis codes, without looking at whether previously-submitted codes lack such
              25 support, would not create the requisite knowledge. Id. at 322:18–323:15. He
              26 further testified that he did not believe it was “improper” or “fraud” for an MA
              27 plan to perform such one-way reviews. Id. at 307:11–310:16.
              28

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                   1        Documents related to the government’s knowledge of United’s and other
                   2 MA plans’ coding practices are also relevant to Escobar’s “demanding” materiality
                   3 standard, which “look[s] to the effect on the likely or actual behavior of the
                   4 recipient of the alleged misrepresentation.”    See United Health Servs., Inc. v.
                   5 United States ex rel. Escobar, 136 S. Ct. 1989, 2002 (2016). The government must
                   6 show that any alleged misrepresentation was material to the government’s decision
                   7 to continue paying and contracting with United. See, e.g., Ex. 17, United’s Rule 16
                   8 Opp’n at 14.      Additionally, evidence of how the government responded to
                   9 knowledge that other MA plans were engaging in chart reviews similar to the chart
              10 reviews at issue in this litigation goes directly to the materiality of any alleged
              11 wrongdoing by United. See id. at 2003; United States ex rel. Worthy v. E. Me.
              12 Healthcare Sys., No. 2:14-cv-00184-JAW, 2017 WL 211609, at *24 (D. Me.
              13 Jan. 18, 2017) (evidence regarding government’s prior investigations of similar
              14 allegations and prior actions to prevent the same type of conduct at issue relevant
              15 for materiality purposes); see also United States ex rel. Scharff v. Camelot
              16 Counseling, No. 13-cv-3791, 2016 WL 5416494, at *17 (S.D.N.Y. Sept. 28, 2016)
              17 (complaint failed to allege sufficient facts to support materiality where it did not
              18 allege whether the government refused to reimburse clinics that engaged in
              19 conduct similar to defendant’s).
              20            Many of the documents United seeks and over which the government has
              21 asserted the deliberative process privilege are related to the government’s
              22 knowledge of MA plans’ activities. For example, United has requested documents
              23 related to the government’s knowledge as to whether MA plans were (1) validating
              24 the accuracy of diagnosis codes, (2) deleting unsupported diagnosis codes, and
              25 (3) looking both ways. See RFPs 17–19. The government, however, is asserting
              26 solely the deliberative process over approximately 545 documents related to “UHG
              27 RA activities” and “non-UHG RA activities.” United should be entitled to these
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                   1 documents to help demonstrate that any alleged wrongdoing by United was not
                   2 material.
                   3        The government has previously argued that the automated nature of the MA
                   4 payment system renders diagnostic codes automatically material and that United
                   5 thus should not be entitled to discovery related to CMS’s views on and treatment
                   6 of the submission of unsupported codes. But United contests this assertion and has
                   7 demonstrated that certain deletes involve much more than merely submitting
                   8 “delete files” to CMS—they involve affirmative decisions by CMS officials to
                   9 process the deletes and adjust prior payments based on CMS's reconciliation of the
              10 submitted data. E.g., Ex. 17, United’s Rule 16 Opp’n at 15–16. In fact, United has
              11 requested documents related to the processes, policies, guidance, and procedures
              12 relating to deletes and the government’s refusal or failure to process deletes
              13 submitted by MA plans.            See RFP Nos. 2-2–2-4.        But the government is
              14 withholding approximately 190 documents related to the “return of overpayments
              15 to CMS,” “submission of deletes,” “processing of overpayments,” and “proposed
              16 overpayment recovery process” (and many additional documents in similar
              17 categories). The government should not be allowed to withhold documents that are
              18 relevant to this issue, including CMS’s internal deliberations about whether to
              19 process deletes, and whether CMS viewed unsupported codes as inherently
              20 improper.
              21            Common Law Claims. The documents that the government is shielding also
              22 are directly related to its two common claims, Payment by Mistake and Unjust
              23 Enrichment. See, e.g., Ex. 17, United’s Rule 16 Opp’n at 8–9. Payment by
              24 Mistake requires the government to prove what it knew and what it would have
              25 done differently if it had the knowledge it claims it lacked. If the government was
              26 aware that United conducted one-way reviews or that other MA plans did the
              27 same, but continued to pay and contract with United or those other MA plans, that
              28 would tend to undermine any claim by the government that it paid United under a

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                   1 mistaken understanding of applicable circumstances. United should be permitted
                   2 to investigate whether the government in fact labored under a misunderstanding
                   3 and what actions it took, if any, as a result of that alleged misunderstanding. Thus,
                   4 United has issued document requests related to the government’s knowledge of
                   5 MA plans’ activities, many of which the government appears to be withholding.
                   6 See, e.g., id. at 14.    These and other documents related to the government’s
                   7 knowledge of United’s and other MA plans’ activities contain information at the
                   8 heart of the government’s Payment by Mistake claim.
                   9        The documents that the government is withholding are also highly relevant
              10 to the its Unjust Enrichment claim. For example, documents United seeks related
              11 to overpayments under the False Claims Act, bear on whether United was entitled
              12 to receive money from the Government and whether retention of those funds was
              13 improper. See, e.g., id. at 10–11. As United has argued previously in this case—
              14 and as Judge Collyer held in the case before her—requiring plans to repay funds
              15 associated with unsupported codes, without first determining whether the plan’s
              16 rate of unsupported codes exceeds the rate implicit in the payment model, would
              17 confer an unfair windfall on the government. See Ex. 18, APA Op.; Ex. 19,
              18 United’s Partial Summ. J. Opp’n at 26. Evidence showing that the government’s
              19 recovery in the instant litigation would produce that inequitable effect would
              20 support United’s defense that it has not been unjustly enriched. See, e.g., Ex. 19,
              21 United’s Partial Summ. J. Opp’n at 2, 19. Therefore, the government is hampering
              22 United’s ability to defend against the Unjust Enrichment claim by withholding
              23 documents that are directly relevant to these issues. See supra at 5–6.
              24            Contractual and Regulatory Ambiguity. Furthermore, the documents that
              25 the government is withholding are relevant to interpreting the meaning of the
              26 ambiguous contractual and regulatory provisions on which the government relies.
              27 The regulatory provisions invoked by the government do not state that an MA plan
              28 is required to delete all codes it allegedly determines to be unsupported, regardless

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                   1 of the rate of unsupported codes in CMS’s own data on which its payments are
                   2 based, or that it is overpaid every time it receives a payment associated with an
                   3 unsupported code. See Ex. 19, United’s Partial Summ. J. Opp’n at 26–46; Ex. 17,
                   4 United’s Rule 16 Opp’n at 16–17. At a minimum, extrinsic evidence is necessary
                   5 to determine the meaning of these provisions. Additionally, extrinsic evidence is
                   6 necessary to resolve the meaning of the ambiguous contractual provisions at issue.
                   7 See Ex. 19, United’s Partial Summ. J. Opp’n at 43–46; Ex. 17, United’s Rule 16
                   8 Opp’n at 16–17. Even if the language of the contracts otherwise appeared to
                   9 support the government’s position, the Court still should “consider evidence of
              10 course of dealing, trade usage, or course of performance” to determine whether
              11 that meaning is, in fact, ambiguous. See Mohave Valley Irrigation & Drainage
              12 Dist. v. Norton, 244 F.3d 1164, 1166 (9th Cir. 2001).
              13            Damages. Finally, many of the documents the government is withholding
              14 are relevant to potential damages calculations. Documents related to errors in
              15 CMS’s data and the calculation of a FFS Adjuster, for example, bear directly on
              16 the existence and extent of damages in this matter. Any calculation of damages
              17 that failed to take into account the prevalence of unsupported codes in CMS’s data,
              18 which the FFS Adjuster attempts to approximate, would grossly overestimate any
              19 actual injury suffered by the government. See Ex. 19, United’s Partial Summ. J.
              20 Opp’n at 26–27. But the government is withholding over 4,700 such documents
              21 that span a 13.5-year period. See supra at 5.
              22            In sum, the government has asserted the deliberative process privilege over
              23 thousands of documents that are central to the remaining False Claims Act count,
              24 both common law claims, the meaning of the contracts and regulatory provisions
              25 upon which the government relies, and potential damages. These documents are
              26 not simply relevant—they are critical to United’s ability to defend itself in this
              27 case. Thus, this factor weighs heavily in favor of disclosure.
              28

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                   1                     ii.    The Government Is the Sole Custodian of This Critical
                   2                            Evidence

                   3        The availability of comparable evidence from sources other than the
                   4 government is “perhaps the most important factor in determining whether the
                   5 deliberative process privilege should be overcome.” N. Pacifica, LLC, 274 F.
                   6 Supp. 2d at 1124. This factor imposes a high bar for the government: even if some
                   7 related evidence may be available elsewhere, the availability of evidence from
                   8 other sources will not suffice unless the evidence is “comparable.” See Cal. State
                   9 Foster Parent Assn. v. Wagner, No. C 07-05086 WHA, 2008 WL 2872775, at *5
              10 (N.D. Cal. 2008) (finding that this factor “weigh[ed] heavily in favor of disclosure”
              11 where plaintiffs claimed the state had violated a statute and sought “detailed
              12 analyses completed by . . . the agency responsible for the enforcement” of the
              13 statute, even though “some of the factual information contained in the analyses”
              14 might be available elsewhere).
              15            United cannot obtain the crucial evidence described above from other
              16 sources. The government is not only the best and most authoritative source of
              17 information about its own knowledge and interpretations of MA requirements—it
              18 is the sole custodian of that information. Even if other sources for this evidence
              19 existed (and they do not) “the quality and persuasiveness of such evidence w[ould]
              20 be substantially inferior to that produced by the agency charged with enforcing and
              21 administering the programs at issue in this litigation.” See id. This factor—
              22 arguably the most important—also weighs heavily in favor of disclosure.
              23                         iii.   The Government Plays a Significant Role in this
              24                                Litigation

              25            It is difficult to imagine how the government could play a more significant
              26 role in this litigation, having affirmatively chosen to file a lawsuit of this scope and
              27 magnitude after a five-year investigation. See, e.g., Berkeley Heartlab, No. 9:14-
              28 cv-00230-RMG, 11 (D.S.C. June 19, 2017) (finding the government’s role

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                   1 significant where it government filed a complaint-in-intervention in False Claims
                   2 Act matter); cf. Wagner, 2008 WL 2872775, at *6 (noting that, “[o]bviously, as
                   3 defendant, the government plays a prominent role in this litigation”).            The
                   4 government affirmatively elected to place its internal deliberations, knowledge of
                   5 MA plans’ activities, and interpretations of applicable regulatory, statutory, and
                   6 contractual MA requirements directly at issue, and it would be unfair for the
                   7 government to pursue its claims while shielding relevant evidence behind the
                   8 deliberative process privilege. See N. Pacifica, 274 F. Supp. 2d at 1124 (stating
                   9 that the government’s decisionmaking process ‘is not swept up into the case, it is
              10 the case.’”) (quoting Irvin 127 F.R.D. at 174); see also Fed. Deposit Ins. Corp. v.
              11 Giancola, No. 13 C 3230, 2015 WL 5559599, at *6 (N.D. Ill. Sept. 18, 2015)
              12 (stating that as a plaintiff, the government played a “considerable role” in the case
              13 and that it would be unfair if the government could advance its claims by
              14 concealing relevant evidence behind a government privilege). Accordingly, this
              15 factor weighs heavily toward disclosure.
              16                         iv.   Any Governmental Interest in Non-Disclosure Is Suffi-
              17                               ciently Protected by a Protective Order

              18            The risk that disclosure of the documents would chill agency deliberations is
              19 minimal because there is a protective order in place. Courts have repeatedly found
              20 that protective orders adequately safeguard the government’s interest in non-
              21 disclosure. See, e.g., In re McKesson Governmental Entities Average Wholesale
              22 Price Litig., 264 F.R.D. 595, 602–03 (N.D. Cal. 2009) (holding that the protective
              23 order in place would sufficiently protect the government’s interest); Noble v. City
              24 of Fresno, No. 1:16-cv-01690, 2018 WL 1381945, at *9 (E.D. Cal. Mar. 19, 2018)
              25 (same).
              26            The protective order in this case—which both parties negotiated and agreed
              27 to and which this Court approved—sufficiently protects any government interest in
              28 non-disclosure. The government may designate documents “Confidential” or

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                   1 “Attorneys’ Eyes Only” if it is concerned about the documents being disclosed
                   2 outside of this litigation. See Ex. 27, Protective Order ¶¶ 6, 8–13, 21–23. In
                   3 addition, “[e]xtremely confidential and/or sensitive” documents that the
                   4 government appropriately designates “Attorneys’ Eyes Only” are not even
                   5 permitted to be shared with United personnel, including in-house counsel. See id.
                   6 at ¶¶ 9, 22. Thus, the protective order provides adequate protection over the
                   7 documents that the government is withholding, such that producing them would
                   8 not threaten the deliberative process. Therefore, this factor, like all the others,
                   9 weighs heavily in favor of disclosure.
              10            In sum, all four of the factors set forth in FTC v. Warner weigh in favor of
              11 disclosure. Thus, even if the government had properly invoked the deliberative
              12 process privilege (which it has not), the privilege would be overcome in this case
              13 because United’s need for the documents outweighs the government’s interest in
              14 non-disclosure.
              15            B.     Government
              16            Defendants’ motion to compel the production of privileged information that
              17 is irrelevant to any claim or valid defense in this case should be denied. First,
              18 under Rule 26 and associated case law, any consideration of agency privilege
              19 assertions is premature during the pendency of the government’s motion for a
              20 protective order, which was filed roughly three months ago and stands fully briefed
              21 and under submission. While the protective order motion is pending with Judge
              22 Fitzgerald, any compelled production by this Court with respect to a category of
              23 information covered by that motion would, in effect, function as a denial of the
              24 relief requested of Judge Fitzgerald by the United States. Second, Defendants have
              25 moved to compel the production of factual information that has been publicly-
              26 released or which the government has agreed to produce. In short, with respect to
              27 this category of material – which involves the rates of unsupported diagnosis codes
              28 in claims for payments submitted by providers under the FFS Medicare Programs

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                   1 and which is the primary focus of the motion to compel, Defendants’ motion is
                   2 unnecessary.        Third, with respect to other categories of agency documents,
                   3 Defendants’ briefing fails to establish the relevancy of the material or that
                   4 Defendants have any genuine need for it. Finally, the internal documents withheld
                   5 from production by the government are protected by the deliberative process
                   6 privilege as established by the agency declarations appended to this brief.8 Each of
                   7 the foregoing points are addressed in turn, below.
                   8         1.     The Scope and Sequence of Discovery Under Rule 26(b)
                   9                a.      Discovery is Permitted Only with Respect to Relevant
              10                            Documents
              11             Under the Federal Rules, the right to request documents is provided by Rule
              12
              13       8
                         As described in the Cheri Rice Declaration, paragraph 10, a review was done by
                       CMS personnel and contractors of certain documents on Privilege Logs 1-7. In
              14       addition, with CMS’ approval, Department of Justice attorneys reviewed a subset
                       of documents, and in some cases suggested revisions to the categorical description
              15       assigned to the document or identified that the document was not protected under
                       the Deliberative Process Privilege, but should remain on the privilege log pursuant
              16       to the Attorney-Client Privilege and/or Work Product Doctrine. As described in
                       the Declaration of Patrick J. Cogley, paragraph 21, a similar review was conducted
              17       by HHS-OIG personnel of the OIG documents. Attached as Exhibit A to the
                       Declaration of John E. Lee is a consolidated privilege log 1-7 that reflects the
              18       changes to the United States’ privilege determinations based on these updated
                       reviews. For completeness sake, Exhibit A contains the remainder of the entries
              19       that have no changes from the previously produced versions. Therefore,
                       documents that are no longer deemed to fall under the protection of the
              20       Deliberative Process Privilege remain on Exhibit A based the Attorney-Client
                       Privilege and/or Work Product Doctrine. In addition, documents identified in
              21       Exhibit A include a revision to the categorical description previously assigned to
                       the document. The revised descriptions more accurately reflect the content of the
              22       withheld or redacted document. Moreover, after review of the documents
                       identified on Privilege logs 1-7, a total of 57 documents have been removed from
              23       the log because they were inadvertently marked as responsive during the initial,
                       broad scale document review, when in fact they were not responsive to the
              24       document requests in this case. Those documents are identified in Exhibit B to the
                       Lee Declaration and can be made available for in camera review as necessary.
              25       While not responsive to this matter, they are nevertheless still protected by
                       privilege. Finally, based on the review of the material in privilege logs 1-7,
              26       approximately 1,300 documents previously withheld under the Deliberative
                       Process Privilege will be released in full and produced to Defendants in an
              27       upcoming production. In addition, approximately 100 documents previously
                       withheld in full will be produced to defendants with redactions in an upcoming
              28       production.

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                   1 34, which provides that “[a]ny party may serve on any other party a request (1) to
                   2 produce . . . documents . . . which constitute or contain matters within the scope of
                   3 Rule 26(b) and which are in the possession, custody or control of the party upon
                   4 whom the request is served.” Rule 26(b) provides that, “[p]arties may obtain
                   5 discovery regarding any matter, not privileged, that is relevant to the claim or
                   6 defense of any party . . . .” Fed. R. Civ. P. 26(b)(1) (emphasis added). Section
                   7 (b)(2) of Rule 26 places general limitations on the scope of discovery referenced in
                   8 Section (b)(1) and, in relevant part, provides that “[t]he frequency or extent of use
                   9 of the discovery methods otherwise permitted under these rules and by local rule
              10 shall be limited by the court if . . . the burden or expense of the proposed discovery
              11 outweighs its likely benefit, taking into account the needs of the case, the amount
              12 in controversy, the parties’ resources, the importance of the issues at stake in the
              13 litigation, and the importance of the proposed discovery in resolving the issues.”
              14 Fed. R. Civ. P. 26(b)(2). And Rule 26(b)(5)(A) makes clear that a claim of
              15 privilege need only be made with respect to information that is “otherwise
              16 discoverable.”
              17            Hence, before privilege questions are addressed in this case, Defendants
              18 have the initial burden of demonstrating the relevance of internal, non-public
              19 agency deliberative documents to a claim or defense. See, e.g., Gill v. Gulfstream
              20 Park Racing Ass’n Inc., 399 F.3d 391, 400 (1st Cir. 2005) (“Discovery of both
              21 privileged and unprivileged information is subject to the limitations imposed by
              22 Rule 26(b).”) (emphasis supplied).          Defendants’ arguments in their motion to
              23 compel fail to meet this burden. Moreover, these issues have already been briefed
              24 as part of the government’s motion pursuant to Rules 16(b) and 26(c) for a
              25 scheduling order modifying discovery or a protective order. See Dkt. Nos. 261 and
              26 278. Accordingly, the government adopts and incorporates its previous arguments
              27 in those briefs as if fully stated herein. The Court should defer consideration of
              28 United’s motion until Judge Fitzgerald rules on the United States’ pending

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                   1 motions. At a minimum, the Court should address the threshold issue of relevancy
                   2 before obligating the government to undertake the enormous burden and expense
                   3 of perfecting the deliberative process privilege of thousands of documents. To
                   4 proceed otherwise would allow Defendants to skirt a burden that they have under
                   5 the Federal Rules and case precedent: the burden of establishing relevancy.
                   6              b.     Consideration of the Government’s Privilege Assertions Should
                   7                     Await Resolution of the Motion for a Protective Order
                   8        In addition to imposing a relevancy requirement with respect to the
                   9 production obligations that may be imposed on a party, Rule 26 provides a means
              10 by which a party may limit or avoid the burden associated with asserting and
              11 perfecting privilege claims.
              12            [Rule 26] does not attempt to define for each case what information
              13            must be provided when a party asserts a claim of privilege or work
              14            product protection. Details concerning time, place, persons, general
              15            subject matter, etc., may be appropriate if only a few items are
              16            withheld, but may be unduly burdensome when voluminous
              17            documents are claimed to be privileged or protected, particularly if the
              18            items can be described by categories. A party can seek relief through
              19            a protective order under subdivision (c) if compliance with the
              20            requirement of providing this information would be an unreasonable
              21            burden.
              22 Fed. R. Civ. P. 26 advisory committee’s note to 1993 amendment (emphasis
              23 supplied).
              24            In this case, the District Judge has not yet issued a scheduling order and,
              25 thus, there are no discovery or other deadlines. As noted, in early August of this
              26 year, the United States moved to limit discovery under both Rule 16(b) and Rule
              27 26(c). See Dkt. 261-1, at 1. This was an appropriate means of seeking relief from
              28 the extraordinarily overbroad and unjustified document discovery demands being

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                   1 imposed by Defendants on the government. See 8A Charles Alan Wright & Arthur
                   2 R. Miller, Federal Practice and Procedure § 2040 (3d ed. April 2018 update)
                   3 (where Rule 16(b) authorizes the use of scheduling orders to limit discovery to
                   4 avoid undue burden, “Rule 26(c) Orders have become less important to address
                   5 these concerns, which may often arise without the filing of a Rule 26(c) motion”);
                   6 id. 6A § 1528 (While Rule 16 authorizes a district judge to control and facilitate
                   7 discovery, “the governing standards by which the court can rule on discovery
                   8 requests . . . are found in the discovery rules themselves.”); Fed. R. Civ. P. 26
                   9 advisory committee’s note to 2015 amendment (consistent with the preference that
              10 district judges affirmatively manage case discovery, Rule 26 is “intended to
              11 encourage judges to be more aggressive in identifying and discouraging discovery
              12 overuse”).
              13            The United States has done precisely what is contemplated by the Federal
              14 Rules and sought relief from having to review for privilege and log thousands of
              15 irrelevant privileged documents. See Dkt. Nos. 261, 278. Moreover, the discovery
              16 relief sought pursuant to the motion for a protective order was premised on the
              17 government having filed three substantive and partially dispositive motions on core
              18 legal issues. See Dkt. Nos. 234, 235, 236, 271, and 272. A ruling by Judge
              19 Fitzgerald on the outstanding motion for a protective order and the three
              20 substantive motions should precede any consideration of United’s motion to
              21 compel the disclosure of privileged documents. See Burlington N. & Santa Fe R.R.
              22 Co. v. U.S. Dist. Court for the Dist. of Mont., 408 F.3d 1142, 1149 n.3 (9th Cir.
              23 2005) (when subject to “exhaustive” discovery requests covering privileged
              24 documents, a litigant “is not without recourse” and may “apply for a discovery or
              25 protective order”); United States v. Philip Morris, Inc., 347 F.3d 951, 954 (D.C.
              26 Cir. 2003) (“if a party’s pending objections [to the scope of discovery] apply to
              27 allegedly privileged documents, the party need not log the documents until the
              28 court rules on its [scope] objections”); Freeman v. Seligson, 405 F.2d 1326, 1338

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                   1 (D.C. Cir. 1968) (stating that matters of privilege are appropriately deferred until
                   2 after the showing of relevance and good cause has been made).
                   3            While United has repeatedly assailed the government for attempting to
                   4 “unilaterally dictate the flow of discovery,” in truth, the government has simply
                   5 done what any party is allowed to do – move for a protective order under Rules 16
                   6 and 26 seeking to be relieved of irrelevant and burdensome discovery.                  The
                   7 government respectfully requests that this Court refrain from ruling on Defendants’
                   8 motion to compel if granting the relief sought would have the effect of preempting
                   9 the District Judge. Moreover, a key issue implicated by the deliberative process
              10 privilege dispute is whether Defendants have established a need for the material
              11 sufficient to overcome the federal agency’s interest in protecting the confidentiality
              12 of internal, deliberative documents. Accordingly, the question of relevancy is
              13 inexorably bound up in any consideration of the deliberative process privilege.
              14 This Court already indicated that it would appreciate guidance from the District
              15 Judge on this issue9 – which is certain to come when Judge Fitzgerald rules on the
              16 four outstanding motions.
              17                Finally, resolving relevancy questions first would expedite resolution of the
              18 privilege questions. Because Defendants’ discovery is directed at virtually all
              19 payment-related issues under the MA Program, the United States has, as a result,
              20 asserted privilege over more than twenty thousand documents. The unduly broad
              21 scope of United’s discovery has made consideration of privilege issues by CMS
              22 and the preparation of privilege logs inordinately time-consuming and
              23 cumbersome. Depending on how the District Judge resolves the pending motions,
              24 the diversion of agency resources on the scale that is now occurring on an ongoing
              25 basis may well turn out to have been unnecessary. The same may be true with
              26 respect to the time and attention spent by this Court considering subject matter or
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              28       9
                           See, e.g., Sept. 17, 2018 Hr’g Tr. at 55 (Dkt. No. 294, Ex. 4).

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                   1 categories of deliberative process privileged documents potentially determined to
                   2 be irrelevant when the District Judge rules on one or more of the four pending
                   3 motions. The merits of this sequential approach have been recognized:
                   4        We agree . . . with the Secretary that matters of privilege can
                   5        appropriately be deferred for definitive ruling until after the
                   6        production demand has been adequately bolstered by a general
                   7        showing of relevance and good cause, and at least the rough
                   8        dimensions of the Secretary's burden have been set. This technique
                   9        may, as to particular items, eliminate a ‘showdown’ on privilege.
              10 Seligson, 405 F.2d at 1338. Resolution of a privilege challenge will be simplified
              11 and expedited if the total number of privilege entries is winnowed down based on
              12 rulings by the District Court that will establish the law of the case and thereby set
              13 parameters for relevant discovery.
              14            2.    Defendants Have Moved to Compel the Production of Information
              15                  Which is Publicly-Available or That the Government Has Agreed to
              16                  Produce
              17            In addition to being premature, Defendants’ motion to compel is
              18 unnecessary because it primarily seeks information that is publicly available or that
              19 the government has agreed to produce. Defendants’ motion focuses on two main
              20 categories of information.          First, Defendants seek FFS coding error rate
              21 documents. They contend that information about the “presence and extent of
              22 unsupported codes in CMS’s own data” is relevant to the issues of whether or the
              23 extent to which they were overpaid as a result of having failed to delete
              24 unsupported diagnosis codes submitted by them for Medicare payments. Second,
              25 Defendants seek internal agency documents relating to their legal (contractual and
              26 regulatory) obligations to submit valid diagnosis data and to delete invalid
              27 diagnosis data or otherwise repay the Medicare Program for payments based on
              28 invalid diagnosis data. Defendants contend that they require access to non-public,

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                   1 internal agency information in order for this Court to construe their legal
                   2 obligations set forth in their contracts with CMS, CMS regulations and CMS
                   3 program manuals which have been in place over roughly the last decade and a half.
                   4         With respect to the first category of information involving FFS diagnosis
                   5 coding error rates, CMS does not possess its “own data.”             It appears that
                   6 Defendants are referring to diagnosis codes included by providers (primarily
                   7 doctors) in claims for payment under the FFS Medicare Programs (Parts A and B
                   8 of the Medicare Program). Information regarding unsupported diagnosis codes in
                   9 FFS claims data is now available on CMS’ website and is, thus, publicly available.
              10 The information was released in a technical paper posted on the website in
              11 association with HHS’ issuance on October 26, 2018 of proposed revisions to its
              12 Medicare Part C Risk Adjustment Data Validation (“RADV”) audit regulations
              13 along with comments addressing the FFS Adjuster issue. On October 26, 2018,
              14 CMS posted the following documents on its website: an Executive Summary
              15 entitled Fee for Service Adjuster and Payment Recovery for Contract Level Risk
              16 Adjustment Data Validation Audits with an accompanying Technical Appendix.
              17 See Notice of Recent Proposed Medicare Part C Regulation Relating to Fee-For-
              18 Service Adjuster Issue (Dkt. No. 307) (“Notice”).10 The proposed revisions to the
              19 regulations         can   also    be   found    at   https://s3.amazonaws.com/public-
              20 inspection.federalregister.gov/2018-23599.pdf and at 83 Fed. Reg. 54982 (Nov. 1,
              21
              22       10
                          The proposed regulations address a number of unrelated issues and the entire
                       document is 362 pages. Exhibit 1 of the Notice (Dkt. No. 307-1) consists of pages
              23       relating to the proposed revisions to the RADV audit regulations and the FFS
                       Adjuster issue (pages 9,10, 13, 195-211, 236, 279-285, and 316-317). Exhibit 2 of
              24       the Notice (Dkt. No. 307-2) consists of the FFS Adjuster Executive Summary.
                       Exhibit 3 of the Notice (Dkt. No. 307-3) consists of the FFS Adjuster Technical
              25       Appendix. Given the Notice of Proposed Rulemaking has now issued and in light
                       of the release of the FFS study, CMS is re-reviewing documents on Exhibit A
              26       regarding this topic to determine whether additional documents can be released.
                       The publication of the NPRM may impact CMS’ analysis of whether disclosure of
              27       certain documents related to the FFS Adjuster issue will harm the agency.
                       Therefore, CMS believes that the re-review should continue, even though it will
              28       not be complete by the date of this filing.

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                   1 2018)).           The     Executive      Summary     and    Technical     Paper     are   at
                   2 https://www.cms.gov/Research-Statistics-Data-and-Systems/Monitoring-
                   3 Programs/Medicare-Risk-Adjustment-Data-Validation-Program/Resources.html.
                   4 The Technical Appendix sets out the error or “discrepancy” rates in FSS claims
                   5 data that was reviewed as part of the study of the FFS Adjuster issue.
                   6            Moreover, in response to Defendants’ discovery requests and in regular
                   7 correspondence since then, the government has told United (as well as the District
                   8 Court), to the extent the agency has non-privileged factual information about rates
                   9 of unsupported codes, the government will produce it.11
              10                As for the second category of material, that is, material relating to the legal
              11 requirements that operate in the MA Program, United’s contention that it now
              12 requires non-public communications and internal agency memoranda to understand
              13 the legal obligations of the MA Program is implausible. It is even odd given that
              14 United has participated in the MA Program since 2004. Since that time, United, by
              15 contract, expressly promised to comply with the regulations and program manuals
              16 which have been in place for the duration of United’s participation. In any event,
              17 there is no shortage of program information available to United and the rest of the
              18 public. For example, as explained more fully below, federal regulations, Federal
              19 Register Notices, as well as a substantial body of publicly-available program
              20 information, such as the Medicare Managed Care Manual, MA Participant Guides
              21 and other public notices provide extensive detail on program administration and
              22 related issues.           United, therefore, has the information it requires to assert its
              23 defenses without probing the internal agency deliberations implicated by its overly
              24 broad document requests.
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              28       11
                            See, e.g. Dkt. No. 278, at 4-5.

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                   1        3.     United Has Moved to Compel the Production of Irrelevant Material
                   2               a.    Purported Contractual and Regulatory Ambiguity
                   3        Without actually identifying a specific regulation, contract provision, or
                   4 section of a participant guide, United broadly asserts that these authorities which
                   5 plainly require MAOs, such as the United Defendants in this case, to correct
                   6 erroneous diagnosis coding are somehow ambiguous and that the Court should
                   7 “consider evidence of course of dealing, trade usage, or course of performance” to
                   8 resolve the purported ambiguity. There are multiple problems with this contention.
                   9        First and foremost, the obligation to code correctly, that is, according to
              10 information in patient charts, has already been resolved as a matter of law by the
              11 Ninth Circuit, as now reflected in two decisions – neither of which found any
              12 ambiguity in the program material upon which the appellate court based its
              13 decisions. In United States ex rel. Swoben v. United Healthcare Ins. Co., 848 F.3d
              14 1161, 1175 (9th Cir. 2016), the Ninth Circuit held that United had an obligation to
              15 correct diagnosis codes that it knew to be invalid. Roughly two years later, the
              16 Ninth Circuit reaffirmed Swoben’s holdings in United States ex rel. Silingo v.
              17 Wellpoint, Inc., 904 F.3d 667 (9th Cir. 2018). In Silingo, the Ninth Circuit again
              18 considered an MAO’s legal obligations concerning accurate coding and again
              19 stated that a beneficiary’s medical record is ultimately determinative of whether a
              20 diagnosis code is accurate. Id. at 673 (“Every diagnosis code submitted to CMS
              21 must be based on a ‘face-to-face’ visit that is documented in the medical record.”).
              22 There was no indication, in either Swoben or Silingo, that the Ninth Circuit found
              23 any ambiguity with respect to the obligation to delete invalid diagnoses such that it
              24 needed to look to extrinsic evidence to resolve this legal issue. In fact, the Ninth
              25 Circuit found these authorities clear. See id. at 672-73; Swoben, 848 F.3d at 1168-
              26 69. The same is true with respect to the decision by which Judge Fitzgerald denied
              27 United’s motion to dismiss the complaint in this case. See Dkt. No. 212, at 5
              28 (“MA Organizations have an obligation to withdraw, or delete, previously

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                   1 submitted invalid diagnosis codes.”).
                   2         Under the doctrine of stare decisis, the binding force of Swoben and Silingo
                   3 is not diminished because United may wish to pursue new arguments in this case
                   4 and to re-litigate issues already resolved by Ninth Circuit precedent precisely on
                   5 point here. See, e.g., In re Osborne, 76 F.3d 306, 309 (9th Cir. 1996) (“under the
                   6 doctrine of stare decisis a case is important only for what it decides -for the ‘what,’
                   7 not for the ‘why,’ and not for the ‘how’”); Rambus, Inc. v. Hynix Semiconductor,
                   8 Inc., 569 F. Supp. 2d 946, 963 (N.D. Cal. 2008) (“a district court must apply the
                   9 [circuit court’s] claim construction even where a non-party to the initial litigation
              10 would like to present new arguments”), aff’d, 645 F.3d 1336, 1351 (Fed. Cir.
              11 2011); see also Morrow v. Balaski, 719 F.3d 160, 181 (3d Cir. 2013) (“the very
              12 point of stare decisis is to forbid us from revisiting a debate every time there are
              13 reasonable arguments to be made on both sides”); E.E.O.C. v. Trabuco, 791 F.2d 1,
              14 4 (1st Cir. 1986) (weak or ineffective presentation in a prior case does not deprive
              15 the ruling in that case of precedential effect for purposes of stare decisis).
              16             Second, even if United were entitled to reopen the issue of whether an MAO
              17 is required to code accurately, and to argue that “evidence of course of dealing,
              18 trade usage, or course of performance” is relevant to that question, there is no
              19 reason to conclude that United requires access to internal, non-public agency
              20 documents to defend against the allegations made by the government. United does
              21 not need discovery of non-public, privileged information to elucidate its course of
              22 dealing with CMS over the decade and a half during which United MAOs have
              23 been, collectively, the largest participant in Medicare Part C.
              24             Furthermore, the manner in which CMS has administered the MA Program
              25 is a matter of public record. During United’s participation, CMS has published
              26 abundant guidance relating to the MA Program, including provisions specific to
              27 the conduct at issue in this case. For example, in 2013, the agency stated in the
              28 Medicare Managed Care Manual that MAOs must delete erroneous diagnosis

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                   1 codes. Pursuant to its MA Contracts, United expressly agreed to comply with the
                   2 Manual. See Dkt. No. 234, Exhibit 5 at § 40 (“If upon conducting an internal
                   3 review of submitted diagnosis codes, the plan sponsor [or MAO] determines that
                   4 any ICD-9-CM diagnosis codes that have been submitted do not meet risk
                   5 adjustment submission requirements, the plan sponsor [or MAO] is responsible for
                   6 deleting the submitted ICD-9-CM diagnosis codes as soon as possible”); Section A
                   7 of Article II and Section A(1) of Article IX of the Part C Contract (Dkt. No. 234,
                   8 Exhibit 1) (expressly requiring MAOs to operate “in compliance with … [the]
                   9 Medicare Managed Care Manual”). The requirement of accurate coding has been
              10 reflected in other public guidance dating back to 2003. See, e.g., 2003 Regional
              11 Risk Adjustment Training For Medicare+Choice Organizations, Participant Guide,
              12 at § 6.12.3 (Dkt. No. 261, Exhibit 16) (stating that M+C organizations must submit
              13 delete records when an erroneous diagnosis cluster has been accepted by RAPS
              14 and stored in the RAPS Database); 2004 Regional Risk Adjustment Training For
              15 Medicare Advantage Organizations, Participant Guide, at § 4.16 (Dkt. No. 261,
              16 Exhibit 17) (“M+C organizations must submit delete records when an erroneous
              17 diagnosis cluster has been accepted by RAPS and stored in RAS.”); 2006 Risk
              18 Adjustment Data Basic Training For Medicare Advantage Organizations,
              19 Participant Guide, at § 4.16 (Dkt. No. 261, Exhibit 18) (“MA organizations must
              20 submit delete records when an erroneous diagnosis cluster has been accepted by
              21 RAPS and stored in the RAPS database.”); 2008 Risk Adjustment Data Technical
              22 Assistance For Medicare Advantage Organizations Participant Guide, at § 4.16
              23 (Dkt. No. 261, Exhibit 19) (same). The foregoing Participant Guides and Manual
              24 Section are only examples; they do not come close to representing the full extent of
              25 the information and guidance publicly-issued by the government since the
              26 inception of the MA Program.
              27            CMS has also published extensive information on the system it uses to
              28 process MAO-submitted diagnosis codes and issue risk adjusted payments. See,

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                   1 e.g., 2008 Risk Adjustment Data Technical Assistance For Medicare Advantage
                   2 Organizations Participant Guide (Dkt. No. 261, Exhibit 19), Module 2 - “Risk
                   3 Adjustment Submission Process Overview” and Module 4 - “Data Submission”;
                   4 EDI Agreement (Dkt. No. 34-1, Exhibit 2). The MA payment system is inexorably
                   5 based on diagnosis codes submitted by Defendants.
                   6        Moreover, since the beginning of the MA Program, CMS has issued
                   7 extensive information on steps it has implemented to promote compliance with the
                   8 requirement that diagnoses must be substantiated by the beneficiaries’ medical
                   9 records in order to be valid for payment purposes.      As early as 1999, CMS
              10 announced that it was undertaking “payment validation activity” that was
              11 “intended to improve the accuracy of the risk adjustment data . . . submitted to
              12 CMS for payment.” Policy and Technical Changes to the Medicare Advantage
              13 Program, 74 Fed. Reg. 54,634; 54,674 (Oct. 22, 2009). These “risk adjustment
              14 data validation (RADV) audits” sought “to confirm the presence of risk adjustment
              15 conditions (that is, diagnoses [relevant to risk adjustment]) as reported by MA
              16 organizations for their enrollees and confirmed via medical record documentation.”
              17 Id. These audits were “aimed at validating that a particular Medicare beneficiary
              18 indeed has the medical condition for which the MA organization has been paid.”
              19 75 Fed. Reg. at 19,748; see 42 C.F.R. § 422.310(e) (requiring insurers “to submit a
              20 sample of medical records for the validation of risk adjustment data”); 2009
              21 Proposed Rule, 74 Fed. Reg. at 54,674 (RADV audits are “intended to improve the
              22 accuracy of the risk adjustment data . . . submitted to CMS for payment”). These
              23 are precisely the types of agency documents upon which the Ninth Circuit relied in
              24 the Swoben and Silingo opinions. See Silingo, 904 F.3d at 672-73; Swoben, 848
              25 F.3d at 1168- 69.
              26            United fails to explain, first, how any of the foregoing regulations or
              27 program material is ambiguous. And even if there were there a live interpretative
              28 issue remaining in this case, United fails to cite any legal authority for the

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                   1 proposition that this Court should look to evidentiary sources that are wholly
                   2 absent from the two Ninth Circuit opinions in order to resolve a legal question
                   3 about Medicare Program requirements. In short, if the Court were to conclude that
                   4 an interpretative issue requires resolution, it should follow the Ninth Circuit’s
                   5 approach to resolving the issue. The Ninth Circuit did not refer to testimony from
                   6 agency officials to decide the appeals in either of the MA cases that came before it,
                   7 or remand either case with directions for a district court do so.          This is not
                   8 surprising given that under well-settled canons of statutory and regulatory
                   9 interpretation, the opinions of individuals, as distinct from those formally
              10 articulated by an agency head in an official capacity, are not relevant to construing
              11 a legal term. See, e.g., United States v. Lachman, 387 F.3d 42, 54 (1st Cir. 2004)
              12 (holding that any interpretive issue relating to a regulation is resolved through
              13 reference to the official public record). “[N]on-public or informal understandings
              14 of agency officials concerning the meaning of a regulation are . . . not relevant.” Id.
              15 Accordingly, discovery of non-public opinions of agency personnel will not be
              16 relevant or useful to the resolution of any legal issues that remain or arise in this
              17 case.
              18            According to United, error rates in other Medicare programs are purportedly
              19 relevant to the question whether MA payment rates are “actuarially equivalent” to
              20 Medicare payments in the context of other programs. The meaning of a statutory
              21 term, such as “actuarial equivalence,” is a legal question for the court. See Oliver
              22 v. The Parsons Co., 195 F.3d 457, 463 (9th Cir. 1999) (meaning of “technical and
              23 complex” regulatory terms in FCA case “is ultimately the subject of judicial
              24 interpretation”). It will be resolved pursuant to established canons of statutory
              25 construction, not the non-public musings or opinions of agency employees.
              26            The above points have already been stated by the government in briefs taken
              27 under submission by the District Court. Accordingly, the United States adopts and
              28 incorporates by reference, as if fully set forth herein, the points and authorities

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                   1 stated in Dkt. No. 234-1, at 6-13, 15-20; Dkt. No. 236-1, at 4-8, 16-20; Dkt. No.
                   2 261-1, at 7-11; Dkt. No. 272 at 3-6, 11-25; and Dkt. No. 278, at 10, 15.
                   3               b.    The FCA and Common Law Claims
                   4                     i.     Objective Reasonableness and United’s Scienter
                   5        United also contends that documents reflecting government deliberations are
                   6 relevant to Defendants’ scienter. There is no merit to the argument that United
                   7 requires agency deliberations to understand whether the government’s views on
                   8 “overpayments” are consistent or inconsistent with unspecified interpretations by
                   9 unidentified officials at United. The issue of scienter in this case involves whether
              10 United knew that diagnosis codes which it submitted to CMS were unsupported by
              11 patient charts. Evidence pertaining to that issue can come only from United. None
              12 of the discovery against the government will shed light on what the Defendants
              13 knew about the diagnosis codes that were unsubstantiated by patient charts that
              14 only United had reviewed.            To the extent that scienter focuses on United’s
              15 knowledge of its legal obligation to delete unsupported diagnosis codes, United’s
              16 privileged documents (not those of the agency) are potentially relevant. See, e.g.,
              17 United States ex rel. Wright v. Agip, et al., No. 03-Cv-00264 at 7-9 (E.D. Tex. June
              18 29, 2007) (denying motion to compel deposition of government personnel in FCA
              19 case regarding their understanding of regulations, and holding that “personal
              20 opinions of agency employees that were never communicated to a Defendant are
              21 simply irrelevant to either issues of falsity or knowledge”) (Exhibit D to Lee
              22 Decl.).
              23            On a related point, whether United’s feigned understanding of its obligation
              24 to correct known errors in its diagnosis data submissions constitutes an
              25 “objectively reasonable” interpretation of law presents an issue of law that does not
              26 warrant fact discovery. United States ex rel. Purcell v. MWI Corp., 807 F.3d 281,
              27 288 (D.C. Cir. 2015) (“The interpretive questions whether the term ‘regular
              28 commissions’ is ambiguous and whether MWI’s interpretation is objectively

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                   1 reasonable are legal questions.”); accord United States ex rel. Donegan v.
                   2 Anesthesia Assocs. of Kansas City, P.C., 833 F.3d 874, 879 (8th Cir. 2016)
                   3 (meaning of medical term “is an issue of law”).           Defendants’ argument for
                   4 discovery of agency material relating to the reasonableness of United’s idiocratic,
                   5 self-serving, and post-hoc interpretation of its coding obligations is founded on the
                   6 proposition that federal regulations and the MA Contracts addressing that
                   7 obligation are somehow ambiguous, and that United’s interpretation of the
                   8 purportedly ambiguous language is reasonable. As discussed more fully in the
                   9 government’s motions for partial summary judgment and to dismiss Defendants’
              10 counterclaims, and as reflected in the Ninth Circuit’s decisions in Swoben and
              11 Silingo, there is nothing ambiguous about the obligation to correct invalid
              12 diagnosis data, as set forth in the federal regulations and the MA Contracts.
              13 United’s argument is thus legally untenable. See United States ex rel. Brown v.
              14 Celgene Corp., 226 F. Supp. 3d 1032, 1052 (C.D. Cal. 2016) (“We do not think
              15 Celgene’s position was objectively reasonable at the time of the alleged violations.
              16 Then, as now, there was a CMS regulation stating that Medicare would only
              17 reimburse medically accepted uses. 42 C.F.R. § 423.100. There was no judicial
              18 authority to the contrary.”). It bears noting that a judicial assessment of whether a
              19 legal obligation allows for more than one reasonable interpretation entails looking
              20 at “the statutory [or regulatory] text and relevant court and agency guidance . . . .”
              21 Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47, 70 n.20 (2007) (emphasis added).
              22 Here, relevant CMS guidance only reinforces the absence of any ambiguity
              23 regarding United’s obligation to correct invalid diagnosis data. Indeed, the Swoben
              24 decision expressly rejected United’s argument, made under Safeco, that its
              25 interpretation could be “objectively reasonable” where its obligation had been
              26 made clear. 848 F.3d at 1178 (“We again disagree.”).
              27            Even assuming that United were able to make a facially plausible argument
              28 regarding the ambiguity of its legal obligation, there would remain a factual issue

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                   1 as to whether United knew that its interpretation was unreasonable. Even an
                   2 “objectively” reasonable interpretation of the law can give rise to liability if the
                   3 evidence demonstrates that the defendant actually knew of, deliberately ignored, or
                   4 recklessly disregarded the correct interpretation of the law. See Brown, 226 F.
                   5 Supp. 3d at 1052 (“Celgene makes no effort to show the absence of a material
                   6 dispute as to this factual question. This is just as well. The record includes no
                   7 fewer than four presentations in which Celgene recognized that Medicare was
                   8 prohibited from reimbursing uses that were not ‘medically accepted.’”); see also
                   9 United States v. Kellogg Brown & Root Services, Inc., 2014 WL 1282275, at *7
              10 (C.D. Ill. Mar. 31, 2014) (“[A]n objectively reasonable interpretation may be
              11 knowingly false if the speaker is cognizant of facts that undermine the basis for
              12 that interpretation.”) (citing United States ex. rel. Yannacopoulos v. Gen.
              13 Dynamics, 652 F.3d 818, 833 (7th Cir. 2011)). And if a defendant has notice of the
              14 possibility that its interpretation is wrong and fails to inquire about the proper
              15 interpretation, then the defendant may be found to have acted with deliberate
              16 ignorance or reckless disregard. See S. Rep. No. 99-345, at 7, reprinted in 1986
              17 U.S.C.C.A.N. at 5272; United States ex rel. Williams v. Renal Care Grp., Inc., 696
              18 F.3d 518, 530 (6th Cir. 2012) (quoting the FCA’s legislative history regarding a
              19 limited duty to inquire).
              20            The Ninth Circuit has ruled twice on an MAO’s obligation to code
              21 accurately based on patient charts. There is no ambiguity in the regulations,
              22 manual, and guides that are expressly part of the MA Contracts with respect to this
              23 obligation. Discovery of internal, non-public, agency material will not and cannot
              24 change this situation where this Court and the District Court are bound to follow
              25 the law of this Circuit based on the doctrine of stare decisis.
              26            The above points above are also stated in Plaintiffs’ briefs that are under
              27 submission with the District Court. Accordingly, the United States adopts and
              28 incorporates by reference, as if fully set forth herein, the points and authorities

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                   1 stated in Dkt. No. 261-1, at 11-14; and Dkt. No. 278, at 7-13.
                   2                     ii.   Materiality
                   3        United also contends that documents reflecting deliberations among agency
                   4 personnel are relevant to the question of materiality, but that issue too has been
                   5 decided as a matter of law. Both the Ninth Circuit and Judge Fitzgerald have
                   6 recognized the direct link between the invalid diagnoses submitted by Defendants
                   7 and the risk adjusted payments by Medicare. Swoben, 848 F.3d at 1167-68
                   8 (“diagnoses codes contribute to an enrollee’s risk score, which is used to adjust a
                   9 base payment rate”); Silingo 904 F.3d at 672 (“CMS is unable to confirm
              10 diagnoses before calculating capitation rates” and “[i]nstead accepts the diagnoses
              11 as submitted . . .”); Order on MTD (Dkt. No. 212) at 15 (“not only do various
              12 contractual and regulatory materials require Defendants to submit accurate
              13 diagnostic data, but that data is central to the calculation of the amount of money
              14 CMS pays to Defendants”).
              15            The diagnosis data United submitted to CMS is material by design. As
              16 United well knows, CMS uses an automated system (the Risk Adjustment
              17 Processing System or “RAPS”) to process both the codes and the deletes submitted
              18 by MAOs. There can be no plausible claim that CMS knew that any particular
              19 beneficiary-specific diagnosis code submitted by United was inaccurate. As noted
              20 above, in Silingo, the Ninth Circuit recognized that the size and breadth of the MA
              21 Program made such detailed knowledge impossible. 904 F.3d at 672. Indeed,
              22 Judge Fitzgerald explicitly ruled that CMS’ continued payments to United “despite
              23 generalized knowledge of ‘one-way’ Chart Reviews and problematic diagnosis
              24 codes” is not relevant to whatever “materiality” issue there might be with respect
              25 to United’s obligation to delete invalid diagnoses. Dkt. No. 212, at 21.
              26            Judge Fitzgerald’s explicit recognition of the appropriate scope of the
              27 materiality question is consistent with a substantial body of case law and
              28 legislative history. The issue of materiality, under both the FCA’s definition and

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                   1 common law counts, in a case such as this is ultimately concerned with how a
                   2 misrepresentation or omission is likely to affect the government in the context of
                   3 the relevant transaction—which misrepresentation in this case is the code
                   4 submitted as the claim for a risk-adjusted payment based on the medical condition
                   5 of the beneficiary to whom the diagnosis purportedly applies. Since 2009, the
                   6 FCA has defined the term “material” as “having a natural tendency to influence, or
                   7 be capable of influencing, the payment or receipt of money or property.” 31
                   8 U.S.C. § 3729(b)(4). This codified the longstanding and preexisting common law
                   9 meaning of “material.” See United Health Services, Inc. v. United States, 136 S.
              10 Ct. 1989, 2002 (2016) (“Escobar”) (citing Neder v. United States, 527 U.S. 1, 16
              11 (1999); Kungys v. United States, 485 U.S. 759, 770 (1988) (illustrating
              12 “materiality” requirement equivalent to the FCA’s); S. Rep. No. 111-10, at 12 &
              13 n.6 (2009) (FCA codified the “materiality” definition from Neder, which had
              14 applied the definition in Kungys); Marsteller ex rel. United States v. Tilton, 880
              15 F.3d 1302, 1313 (11th Cir. 2018) (explaining that the statutory definition of
              16 materiality has common law antecedents). Thus, the materiality inquiry here will
              17 focus on contemporaneous evidence bearing upon the claim transaction. In this
              18 case, that process is an automated code-based transaction during which CMS does
              19 not and cannot verify that a code submitted by an MAO is valid. Indeed, this is
              20 precisely why the MA Program explicitly imposes accuracy and integrity
              21 requirements on the participants. See Swoben, 848 F.3d at 1168-69; Silingo, 904
              22 F.3d at 672-73.
              23            In discussing materiality, the Supreme Court relied heavily on how various
              24 common law and other authorities have traditionally understood materiality
              25 requirements. See Escobar, 136 S. Ct. at 2002-03. Those same authorities make
              26 clear that the key question is how the government would have acted at the time of
              27 the transaction induced by the misrepresentation or omission—such as paying the
              28 specific claim in a case of billing fraud. The Restatement (Second) of Torts, for

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                   1 example, clarifies that materiality looks at a representation’s importance when the
                   2 recipient is “determining his choice of action in the transaction in question.”
                   3 Restatement (Second) of Torts § 538(2)(a) (emphasis added).             Williston on
                   4 Contracts is to the same effect. See 26 R. Lord, Williston on Contracts § 69:12
                   5 (explaining that “a misrepresentation is material if it concerns a matter to which a
                   6 reasonable person would attach importance in determining his or her choice of
                   7 action with respect to the transaction involved”) (emphasis added). And in Kungys
                   8 (a case using a definition of materiality that applies to the FCA, as noted above),
                   9 the Supreme Court examined whether a particular misrepresentation had a natural
              10 tendency to influence the specific transaction at issue. 485 U.S. at 771-72.
              11            Furthermore, Escobar approvingly cited United States ex rel. Marcus v.
              12 Hess, 317 U.S. 537 (1943), in which companies had fraudulently induced
              13 government entities to enter into contracts with them. Importantly, Escobar stated
              14 that fraud is material because “government money would never have been placed
              15 in the joint fund for payment” had the government known the truth. 136 S. Ct. at
              16 2003 (quoting Marcus, 317 U.S. at 543). That description of Hess confirms that
              17 materiality is determined as of the time of the initial transaction in question, and
              18 makes clear that extraneous events are not dispositive on this point. See also
              19 Marsteller, 880 F.3d at 1313. In considering an FCA claim about misleading
              20 payment requests, the Eleventh Circuit understood Escobar to require an inquiry
              21 into “whether the Government would have attached importance to the violation in
              22 determining whether to pay the claim.” Id. (emphasis added).
              23            Legislative history further demonstrates that materiality is judged with
              24 respect to the specific transaction at issue. The Senate Report accompanying the
              25 2009 FCA amendments specifically indicated that Congress was codifying the
              26 materiality definition used in certain prior cases, including United States v.
              27 Bourseau, 531 F.3d 1159, 1171 (9th Cir. 2008); United States ex rel. Bahrani v.
              28 Conagra, Inc., 465 F.3d 1189, 1204 (10th Cir. 2006); United States ex rel. A+

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                   1 Homecare, Inc. v. Medshares Mgmt. Group, Inc., 400 F.3d 428, 446 (6th Cir.
                   2 2005); and United States ex rel. Harrison v. Westinghouse Savannah River Co.,
                   3 352 F.3d 908, 916-17 (4th Cir. 2003). See S. Rep. No. 111-10 at 12 & n.6. All
                   4 four of those cases explained that materiality depends upon the actual or likely
                   5 effect of misrepresentations or omissions in the context of the transaction in which
                   6 they were made.
                   7        Without any plausible potential that discovery on this point will yield
                   8 relevant information on materiality, there is no basis for the compelled production
                   9 of privileged, or non-privileged, documents. Some, but not all, of the above points
              10 and authorities are stated in Plaintiffs’ briefs that are under submission with the
              11 District Court.        Accordingly, the United States adopts and incorporates by
              12 reference, as if fully set forth herein, the points and authorities stated in Dkt. No.
              13 261-1, at 8-11.
              14                         iii.   Government’s Purported Knowledge of United’s Chart
              15                                Review Program Does not Estop the Government From
              16                                Recovering for Violations of the MA Regulations and
              17                                Contracts Under the FCA or Common Law Counts
              18            As noted in the previous section, United cannot contend that CMS had
              19 information upon which it could determine that any particular Medicare
              20 beneficiary’s medical record did not support that he or she had the medical
              21 condition associated with the diagnostic code submitted by United at the time its
              22 claims for risk-adjusted payments were being processed -- which is the issue at the
              23 heart of both the FCA and common law counts in this case. Rather, Defendants
              24 contend that if “the government was aware that United conducted one-way chart
              25 reviews or that other plans did the same, but continued to pay and contract with
              26 United or those other MA plans, that would tend to undermine any claim by the
              27 government that it paid United under a mistaken understanding of applicable
              28 circumstances.” This contention mischaracterizes the claims actually asserted by

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                   1 the government in this case, is legally wrong in any event, and has already been
                   2 rejected by the District Court.     See Order on MTD (Dkt. No. 212) at 21
                   3 (“generalized knowledge of Defendants’ ‘one-way’ Chart Reviews and
                   4 problematic diagnosis codes . . . does not amount to actual knowledge of specific
                   5 invalid diagnoses” and “[w]ithout such knowledge, CMS could not know how it
                   6 should change the risk-adjusted payments.”).
                   7        As reflected in Judge Fitzgerald’s Order on United’s motion to dismiss, the
                   8 code-based causes of action pled, under both the FCA and common law, focus on
                   9 the claims for risk-adjusted payments for medical conditions which United, via its
              10 chart reviews, had determined were unsupported by the beneficiaries’ medical
              11 charts. Accordingly, the government’s claims are highly particularized in that, not
              12 only are they beneficiary-specific, but diagnosis-specific. The mistake from which
              13 the inflated risk-adjusted payment resulted was the payment system’s assumption
              14 that a diagnosis code reported by United for a given beneficiary was actually
              15 supported by a medical record. The damages asserted in this case are consistent
              16 with the claims that have been pled. By both the FCA and common law counts,
              17 the government seeks to recover the amount of the enhanced, risk-adjusted portion
              18 of the Medicare payment attributable to the false diagnostic code for an individual
              19 beneficiary which United submitted or failed to correct.
              20            United’s arguments conflate the distinct types of claims that can be subject
              21 to FCA liability. This case involves what the Ninth Circuit has characterized as a
              22 “factually false claim,” which is defined as “one in which the claim for payment is
              23 itself literally false or fraudulent.” Silingo, 904 F.3d at 675. By contrast, a
              24 “legally false claim” is one involving a false certification of compliance with a
              25 program or contractual requirement. Id. In the case of a factually false claim, the
              26 focus, as it should be in this case, is on the claim itself – and particularly on
              27 whether the claim contains “an incorrect description of goods or services provided
              28 or a request for goods or services never provided.” Id. The relevancy arguments

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                   1 advanced by United in the motion to compel, at base, are premised on the unstated,
                   2 but incorrect, idea that the government is contending that all of United’s claims are
                   3 legally false – that the government’s claims are predicated on United having
                   4 implemented, at an administrative level, a chart review program that only “looked
                   5 one way” and that United thereby was in violation of the regulatory and contractual
                   6 requirement that it have an effective compliance program.
                   7        Whatever hypothetical merit there might be to such a contention based on
                   8 United’s conduct, it is not the liability theory pled in the case – as interpreted by
                   9 the District Court. Here, the allegation is that United’s separate claims to Medicare
              10 were factually false because, for the particular claims, a beneficiary medical record
              11 did not support a diagnosis code submitted by United as the claim for risk-adjusted
              12 payment. Accordingly, the evidentiary focus is properly on the factual falsity of
              13 those individual, beneficiary-specific, claims – not on whether United was
              14 violating, as a matter of corporate policy, the legal requirement that it have an
              15 effective compliance program that should have “looked both ways.”
              16            United has not and cannot plausibly contend that discovery of internal,
              17 deliberative communications within CMS has any potential to reveal that CMS had
              18 information from beneficiary medical charts and could have determined that any
              19 particular code for any one of the millions of MA claims submitted by United was
              20 unsupported by the beneficiary’s chart – i.e. precisely the type of claim-specific
              21 information that United was, in fact, developing via its chart review program. The
              22 only way for CMS to have had such information is if United had provided it – and
              23 it does not claim to have done so. Accordingly, United does not and cannot
              24 contend that CMS had beneficiary-specific information about the medical
              25 conditions actually supported by the medical charts as CMS or its contractors were
              26 processing Defendants’ risk-adjusted claims – which is the pertinent question in a
              27 case which involves allegations that United submitted, or failed to correct,
              28 factually false claims.

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                   1        The same principle applies with respect to the common law claims in this
                   2 case. United’s arguments, as they pertain to the common law claims, are premised
                   3 on contentions and damages that have not actually been asserted in this case.
                   4 Although the government concedes that evidence showing that United violated –
                   5 on an across-the-board scale and pursuant to corporate policy – critical regulatory
                   6 and contractual obligations to implement genuine compliance programs and to
                   7 submit only accurate diagnostic information could implicate the question of
                   8 whether United was entitled to any payment under its MA Contracts or whether it
                   9 should be debarred from contracts with Medicare, such questions are not presented
              10 by this case nor are the damages asserted by the government so extensive. In short,
              11 the government in this case is not seeking to recover all Part C and D payments to
              12 United, or even all risk-adjusted payments to United. Yet, United’s arguments in
              13 the motion to compel are premised on the contention that the government should
              14 have used developing information about corporate-level compliance lapses to
              15 either outright suspend payment to United, and to do so without any claim-specific
              16 information or, essentially, debar the company from further participation in the
              17 MA Program (although, granted, United has not been clear whether the
              18 government should have suspended all MA payments for all beneficiaries enrolled
              19 with United, or just all payments for claims subject to risk adjustment based on
              20 diagnosis coding).
              21            The government’s FCA and common law counts are specific to unsupported
              22 diagnostic codes submitted for beneficiaries whose medical records were reviewed
              23 by United. The basis for the mistaken payments which are the subject of this case
              24 involves whether the beneficiaries’ medical records support that they have the
              25 reported medical conditions, not the contours of United’s various chart review
              26 programs. United has not and cannot contend that it ever provided CMS with
              27 beneficiary- and claim-specific information that would have made the government
              28 aware of the type of payment mistakes which are the subject of the common law

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                   1 claims in this case.
                   2        Moreover, United’s contentions regarding the common law claims are
                   3 fundamentally unsound. By the common law (and FCA) counts, the government is
                   4 seeking to enforce the most fundamental component of the MA Program’s risk-
                   5 adjusted payment structure – the requirement of accurate diagnostic coding by the
                   6 MAOs. As demonstrated in the motions that were heard by the District Court on
                   7 September 17, the government is enforcing clearly-established program
                   8 requirements applicable to all MAOs. There is no basis in logic or the law for this
                   9 Court to hold that the government is estopped from enforcing, just against United,
              10 program-wide legal requirements via common law claims that seek to recover
              11 erroneous payments based on United’s non-compliance. In any federal program,
              12 when an agency learns of possible regulatory or contractual violations by an entity
              13 submitting claims for federal funds, the government is not forced, at that point, to
              14 make the choice that it either must take the draconian step of suspending all
              15 payments to the claimant or, if it refrains from doing so, accept that it may be
              16 estopped from using common law causes of action to recoup overpayments
              17 attributable to individual claims that contained inaccurate coding.              Certainly,
              18 United has cited no legal authority for the novel proposition that by permitting
              19 continued participation by a recalcitrant Medicare participant and continuing to
              20 pay other claims arising from the ongoing provision of healthcare coverage to an
              21 aged and vulnerable beneficiary population, the government may be estopped from
              22 recovering particular amounts paid to an MAO on the mistaken assumption that the
              23 beneficiary’s medical record documentation substantiated that he or she had the
              24 medical condition being claimed. Accord, Order on MTD (Dkt. No. 212) at 21.
              25            As explained more fully in the briefs filed in support of Plaintiffs’ motion to
              26 strike Defendants’ affirmative defenses, estoppel against the government does not
              27 follow from the type of agency acquiescence or inaction referenced in United’s
              28 motion to compel and the evidence sought by United cannot be used to defeat the

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                   1 government’s attempt to recover public funds as a matter of law. Accordingly, the
                   2 United States adopts and incorporates by reference, as if fully set forth herein, the
                   3 points and authorities set out in Dkt. No. 235-1, at 5-13, 16-18; Dkt. No. 271, at 1-
                   4 13, 16-20. The Court’s attention is particularly directed to the section of Plaintiff’s
                   5 reply brief which explains that a ruling on the motion to strike affirmative
                   6 defenses, particularly the government knowledge and estoppel defenses, “will
                   7 enable the Magistrate Judge to evaluate the relevance of discovery that
                   8 Defendants’ seek in light of . . . limiting principles . . . .” Dkt. No. 271, at 18-19.
                   9         4.     The Deliberative Process Privilege Shields the Material Sought by
              10                    United from Discovery in This Case
              11                    a.     The United States Has Properly Invoked the Deliberative Pro-
              12                           cess Privilege
              13             Even if the circumstances in this case did not warrant the exercise of
              14 prudence by awaiting the Court’s rulings on the four motions now pending before
              15 the Court, and even if United could establish the relevancy of the vast quantity of
              16 internal agency documents it seeks, United’s motion must nevertheless fail because
              17 the government has properly invoked the deliberative process privilege in this case.
              18             It is well-established that the deliberative process privilege is a long-
              19 standing privilege designed to protect predecisional agency deliberations from
              20 public scrutiny. Hongsermeier v. C.I.R., 621 F.3d 890, 904 (9th Cir. 2010). “It
              21 was developed to promote frank and independent discussion among those
              22 responsible for making government decisions” and “to protect against premature
              23 disclosure of proposed agency policies or decisions.” F.T.C. v. Warner Commc’ns,
              24 Inc., 742 F.2d 1156, 1161 (9th Cir. 1984) (internal citations omitted).                  The
              25 privilege shields from disclosure intra-agency communications that are both
              26 “predecisional” and “deliberative” to “allow agencies freely to explore
              27 possibilities, engage in internal debates, or play devil’s advocate without fear of
              28 public scrutiny.” Lahr v. National Transp. Safety Bd., 569 F.3d 964, 979 (9th Cir.

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                   1 2009) (internal quotation marks omitted); see also Carter v. U.S. Dep’t of
                   2 Commerce, 307 F.3d 1084, 1089-90 (9th Cir. 2002) (both predecisional and
                   3 deliberative).
                   4         “Predecisional” documents include “recommendations, draft documents,
                   5 proposals, suggestions, and other subjective documents which reflect the personal
                   6 opinions of the writer rather than the policy of the agency.” Lahr, 569 F.3d at 979
                   7 (internal quotation marks omitted); see also Carter, 307 F.3d at 1089-90
                   8 (predecisional if “prepared in order to assist an agency decisionmaker in arriving at
                   9 his decision”). A document is part of the “deliberative process” if the disclosure of
              10 the materials “would expose an agency’s decisionmaking process in such a way as
              11 to discourage candid discussion within the agency and thereby undermine the
              12 agency’s ability to perform its functions.” Lahr, 569 F.3d at 979-80 (internal
              13 quotation marks omitted); see also Carter, 307 F.3d at 1089-90 (deliberative if
              14 release would “expose an agency’s decision-making process in such a way as to
              15 discourage candid discussion within the agency and thereby undermine the
              16 agency’s ability to perform its functions”) (internal citations omitted).12
              17             Although “facts and evidence” are generally not protected by the
              18 deliberative process privilege, Warner Commc’ns Inc., 742 F.2d at 1161; see also
              19 Enviro Tech Int’l, Inc. v. U.S. E.P.A., 371 F.3d 370, 374-75 (7th Cir. 2004)
              20
              21       12
                          Contrary to United’s assertion, the distinction between whether the nature of
                       materials is factual or opinion is not dispositive of whether material is deliberative.
              22       See Nat. Wildlife Fed’n v. U.S. Forest Serv., 861 F.2d 1114, 1118-19 (9th Cir.
                       1988) (holding that opinions or recommendations regarding facts or consequences
              23       of facts are not automatically ineligible from protection; courts have interpreted the
                       exemption “to protect documents that would reveal the process by which agency
              24       officials make these determinations, whether or not the documents themselves
                       contain facts or non-binding recommendations regarding law or policy”) (emphasis
              25       in original). And contrary to UnitedHealth’s assertion, the adoption of a policy by
                       an agency does not remove privilege protection over pre-decisional deliberations.
              26       See Fed. Open Mkt. Comm. of the Fed. Reserve Sys. v. Merrill, 443 U.S. 340, 360
                       (1979) (documents protected by “the privilege for predecisional deliberations . . .
              27       remain privileged even after the decision to which they pertain may have been
                       effected, since disclosure at any time could inhibit the free flow of advice,
              28       including analysis, reports, and expression of opinion within the agency.”).

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                   1 (“deliberative process privilege typically does not justify the withholding of purely
                   2 factual material, nor of documents reflecting an agency’s final policy decisions, but
                   3 it does apply to predecisional policy discussions, and to factual matters
                   4 inextricably intertwined with such discussions”) (internal citations omitted), factual
                   5 material that “is so interwoven with the deliberative material that it is not
                   6 severable” may be encompassed by the privilege, United States v. Fernandez, 231
                   7 F.3d 1240, 1247 (9th Cir. 2000).
                   8         To properly invoke the privilege, a party must simply (i) “make the claim
                   9 expressly” and (ii) “describe the nature of the documents . . . not produced . . . in a
              10 manner that, without revealing information itself privileged or protected, will
              11 enable other parties to assess the claim.”           Fed. R. Civ. P. 26(b)(5)(A).       The
              12 Advisory Committee Notes particularly explain that a document-level privilege log
              13 is not required when preparing such a log may be burdensome based on the volume
              14 of material involved. See Fed. R. Civ. P. 26 advisory committee’s note to 1993
              15 amendment; see also 8 Charles Alan Wright & Arthur R. Miller, Federal Practice
              16 and Procedure § 2016.1 (3d ed. April 2018) (“The basic objective [of the rule] is a
              17 sufficient description of the matters withheld to satisfy the needs of the case; rigid
              18 insistence on certain logging or indexing procedures may go well beyond that,
              19 particularly in larger cases.”).
              20             Rule 26 thus does not set out an express requirement that a party invoke any
              21 privilege on a document-by-document basis. Rather, courts in this circuit and
              22 others consistently take a practical approach when construing the obligations
              23 imposed on a party with respect to perfection of a privilege claim. See Burlington
              24 N., 408 F.3d at 1149 (when assessing privilege assertions, a district court should
              25 apply a “holistic reasonableness analysis” which takes into account: any discovery
              26 or protective orders; the magnitude of the document production; other
              27 circumstances of the litigation that make responding to discovery unusually easy or
              28 unusually hard; the degree to which the objections or assertions allows a litigant

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                   1 and court to evaluate privilege; and the timeliness of the objection and information
                   2 about withheld documents); United States ex rel. Humane Soc’y of the U.S. v.
                   3 Westland/Hallmark Meat Co., 2012 WL 12886501, at *6 (C.D. Cal. Sept. 26,
                   4 2012) (holding that the government had “properly invoked the deliberative process
                   5 privilege as to categories of documents.”); SEC v. Thrasher, 1996 WL 125661, at
                   6 *1 (S.D.N.Y. Mar. 20, 1996) (rejecting the need for detailed log where material at
                   7 issue was voluminous and “a document-by-document listing would [have been] a
                   8 long and fairly expensive project for counsel to undertake”); Emerson Elec. Co. v.
                   9 Ouellette, 1998 WL 34088465, at *8 (D. N.H. May 12, 1998) (“the duty to provide
              10 a description [of privileged documents] required by Rule 26(b)(5) is flexible and
              11 does not arise until there is a good faith challenge to the privilege claim” at which
              12 point “a statement asserting that the privilege protects various categories of
              13 documents will satisfy Rule 26(b)(5)”) (internal citations omitted).
              14            Here, the government has provided three declarations, along with a revised
              15 privilege log,13 in support of its invocation of the deliberative process privilege
              16 claim. These are the Declarations of Cheri Rice, George G. Mills, and Patrick J.
              17 Cogley. Ms. Rice is a Deputy Director for the Centers for Medicare and Medicaid
              18 Services, with responsibility for Part C Medicare Advantage and Part D Medicare
              19 Prescription Drug Plans. Rice Decl., ¶ 2. Ms. Rice manages several groups,
              20 including the Medicare Plan Payment Group, which is responsible for developing
              21 and implementing bidding and payment policies, although she is not responsible
              22 for the Center for Program Integrity (“CPI”). Id., ¶¶ 4 & 7. In that capacity, Ms.
              23 Rice oversaw the review by CMS employees and contractors of the documents
              24 subject to the deliberative process privilege. Id., ¶ 10. Although she herself did
              25
              26      13
                    Consistent with this Court’s encouragement that the parties “consider whether,
                 fairly and objectively, there is a core set of documents that the Government will
              27 have to produce,” Mem. Decision and Order, filed Oct. 23, 2018 (Dkt. No. 304) at
                 21, the government has continued to review its documents and determined that
              28 additional documents can be disclosed to United. See footnote 8 above.

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                   1 not personally review all of the documents, she consulted with personnel who
                   2 conducted or supervised the review and personally reviewed all of the documents
                   3 described in her declaration. Id., ¶¶ 9, 10. Based on her review and consultation,
                   4 Ms. Rice asserts the deliberative process privilege as to all CMS documents,
                   5 except CPI documents, explains why various categories of such documents are
                   6 predecisional and deliberative, and specifies the harm that would result from their
                   7 disclosure. In doing so, Ms. Rice describes the nature of both the MA rulemaking
                   8 process and MA sub-regulatory process, breaks down the documents into the
                   9 following categories, and explains the predecisional and deliberative nature of
              10 these documents: (i) Emails; (ii) Handwritten Notes; (iii) Issue or Options Papers;
              11 (iv) Research Data and Analysis; (v) Briefing Documents; (vi) Talking Points; (vii)
              12 Drafts of Rulemaking Documents; (viii) Reviews of Comments on Proposed Rules
              13 and Proposed Responses; (ix) Draft Letters; (x) Press Releases; (xi) Questions and
              14 Answers for the CMS Office of Communications; (xii) Drafts of Subregulatory
              15 Guidance Documents; and (xiii) Reviews of Comments on Policy White Papers
              16 Released on the CMS Website.14
              17            Mr. Mills is the Deputy Center Director for CPI. Mills Decl., ¶ 2. In this
              18 capacity, Mr. Mills has responsibilities for leading CPI’s program integrity efforts
              19 for Medicare Part C, including oversight of the staff that develops policies for and
              20 manages much of the operations for the contract-level RADV audits and the study
              21 and analysis of whether to apply a FFS Adjuster to extrapolated RADV audit
              22 results. Id., ¶¶ 5, 8. Mr. Mills oversaw the review of documents falling within
              23 CPI’s responsibility. Id., ¶¶ 10, 11. Although Mr. Mills himself did not personally
              24 review all of these documents, he supervised the staff and contract personnel
              25 responsible for this review, consulted with them, and personally reviewed all of the
              26
                 14
                    Ms. Rice’s declaration, as well as that of the other declarants, describes several
              27 specific examples of documents that are identified by bates numbers. These
                 specific documents are in turn indicated by arrows in the margins of the privilege
              28 log that is attached as Exhibit A to the Lee Declaration.

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                   1 documents described in his declaration. Id., ¶¶ 12, 13. Based on his review and
                   2 consultation, Mr. Mills asserts the deliberative process privilege as to the RADV
                   3 and FFS Adjuster documents asserted to be privileged and explains that they are
                   4 predecisional and deliberative. Id., ¶¶ 14, 15. Mr. Mills further breaks down the
                   5 documents into the following categories, explains in detail why they are
                   6 predecisional and deliberative, and specifies the harm that would result from their
                   7 disclosure: (i) Emails; (ii) Presentations; (iii) RTI Contractor Work Plan; (iv)
                   8 Handwritten Notes; (v) Spreadsheets Prepared for Internal Use by CMS Personnel;
                   9 (vi) Talking Points; (vii) Options Papers; (viii) Issue Papers; (ix) Draft Sampling
              10 Specifications; and (x) Questions Posed to CMS by the Office of Management and
              11 Budget. Id., ¶¶ 22-26.
              12            Mr. Cogley is a Regional Inspector General for the Office of Audit Services
              13 (“OAS”) in the Office of Inspector General for the Department of Health and
              14 Human Services.          Cogley Decl., ¶ 2.       Mr. Cogley’s responsibilities include
              15 producing written reports, planning and directing audit work, and ensuring that the
              16 work is performed according to professional standards. Id., ¶ 9. Mr. Cogley
              17 describes the various auditing phases, including the Survey Phase, Data Collecting
              18 and Analysis Phase, and Drafting Phase. Id., ¶¶ 16-19. Based on his personal
              19 review of the audit documents and discussions with agency personnel, Mr. Cogley
              20 asserts the deliberative process privilege as to these documents, explaining why
              21 they are predecisional and deliberative, and specifying the harm that would result
              22 from their disclosure. Id., ¶¶ 22-35.
              23            Accordingly, the government has sufficiently asserted and shown the
              24 applicability of the deliberative process privilege as to the disputed documents.
              25                   b.    United’s Need for the Materials Does Not Outweigh the Gov-
              26                         ernment’s Interest
              27            Moreover, United improperly exaggerates its purported need for the
              28 requested documents, which does not outweigh the government’s legitimate

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                   1 interest in protecting its long-standing privilege as to its internal deliberative
                   2 material.   While the deliberative process privilege is a qualified one and the
                   3 privilege may be outweighed in some special circumstances, a litigant may obtain
                   4 deliberative materials only if his or her “need for the materials and the need for
                   5 accurate fact-finding override the government’s interest in non-disclosure.”
                   6 Warner Commc’ns Inc., 742 F.2d at 1161. “Among the factors to be considered in
                   7 making this determination are: 1) the relevance of the evidence; 2) the availability
                   8 of other evidence; 3) the government’s role in the litigation; and 4) the extent to
                   9 which disclosure would hinder frank and independent discussion regarding
              10 contemplated policies and decisions.”          Id.   “‘Other factors that a court may
              11 consider include: (1) the interest of the litigant, and ultimately society, in accurate
              12 judicial fact finding, (2) the seriousness of the litigation and the issues involved,
              13 (3) the presence of issues concerning alleged governmental misconduct, and (4) the
              14 federal interest in the enforcement of federal law.’” Desert Survivors v. US Dep't
              15 of the Interior, 231 F. Supp. 3d 368, 380 (N.D. Cal. 2017) (quoting N. Pacifica,
              16 LLC v. City of Pacifica, 274 F. Supp. 2d 1118, 1122 (N.D. Cal. 2003)).
              17 Consideration of these factors shows that United’s need does not override the
              18 government’s interest in maintaining the deliberative process privilege.
              19            At the outset, as shown above, United wholly fails to demonstrate any
              20 genuine relevancy of the documents it seeks. Rather, United seeks to turn this
              21 FCA case on its head and seek internal deliberations of CMS and thereby shift
              22 focus from its own fraudulent conduct in failing to delete diagnoses codes it knew
              23 were unsupported by medical records and thereby avoid the return of billions of
              24 dollars in unwarranted Medicare payments. However, it cannot show any real
              25 relevancy of the internal deliberation documents.15 It can only attempt to do so by
              26
              27      15
                    Indeed, United even seeks deliberative documents from the HHS Office of
                 Inspector General (“HHS-OIG”). Section 9(a)(2) of the Inspector General Act
              28 prohibits the HHS-OIG from involving itself in programmatic issues. United does

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                   1 seeking to advance a tortured understanding of the concept of “objective
                   2 reasonableness” that has been rejected not only by the Safeco case itself but also
                   3 numerous FCA cases that have followed it. United also improperly advances
                   4 unsupportable notions of materiality that have no place in this case. In addition,
                   5 United misconstrues the nature of the government’s common law claims for
                   6 payment by mistake and unjust enrichment by ignoring that, because it never
                   7 deleted countless diagnosis codes it knew were unsupported by the medical
                   8 records, no government official knew or could have known any facts that would
                   9 have any bearing on these common law claims.
              10            Further, there is other much more relevant evidence in this case, including
              11 within United’s own possession, custody, and control. This evidence includes
              12 internal communications of its management personnel regarding United’s decision
              13 not to delete unsupported codes, as well as evidence in the hands of third parties
              14 and other persons whom United enlisted to assist in its long-standing chart review
              15 and other programs designed to pad its Medicare payments.
              16            And while the government is necessarily a party in this case to recoup the
              17 billions of dollars improperly retained by United, as testified by Ms. Rice, Mr.
              18 Mills, and Mr. Cogley, significant harm would result from the improper
              19 dissemination of privileged documents and have a lasting chilling effect on
              20 important internal deliberations that are needed for the efficient administration of
              21 the MA Program.
              22            Additionally, while there is and can be no suggestion of any government
              23 misconduct in this case, there are serious allegations of long-lasting and
              24 consequential fraudulent conduct on the part of United and its senior management,
              25 encompassing a number of years, in improperly obtaining and retaining billions of
              26 dollars in public funds to which United was never entitled.
              27
                 not, and cannot, show that HHS-OIG deliberations are at all relevant to the claims
              28 and defenses at issue.

                                                          67        JOINT STIPULATION REGARDING UNITED’S
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  LOS AN GE LES
                                                                 MOTION FOR ORDER COMPELLING THE UNITED
                                                                           STATES TO PRODUCE DOCUMENTS
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                   1        Finally, the United States, the public, and this Court all have a vested
                   2 interest in the meaningful enforcement of the FCA and other laws seeking to curb
                   3 gross fraudulent conduct amongst MAOs that deprive the public of billions of
                   4 dollars in needed Medicare funds.       Particularly in light of United’s improper
                   5 attempt to burden the government with onerous document requests seeking internal
                   6 deliberative material after having been caught defrauding the government for
                   7 years, this interest in meaningful FCA enforcement should be weighed heavily in
                   8 assessing the deliberative process privilege.
                   9 III.   PROPOSED RESOLUTION/CONCLUSION
              10            A.     United
              11            The Court should compel the production of all approximately 21,400
              12 documents that the government is withholding solely on the basis of the
              13 deliberative process privilege. The government’s basic privilege log descriptions
              14 are plainly deficient and fail to demonstrate how any document is both
              15 predecisional and deliberative.           The agency declaration described by the
              16 government does not cure these deficiencies. The government has had months to
              17 rectify these fundamental defects but has failed to do so.                   And now, the
              18 government has outright refused to honor its commitment to provide an agency
              19 declaration by the end of September.
              20            Furthermore, even if the government had met its burden of establishing the
              21 applicability of the deliberative process privilege, United’s need for these vital
              22 documents outweighs any interest the government might have in non-disclosure.
              23 The government’s inappropriately expansive view of the deliberative process
              24 privilege stems from its desire to prevent United from obtaining discovery that is
              25 critical to the claims and defenses in this case—including the government’s only
              26 remaining False Claims Act count, its common law claims, and potential damages.
              27 The government is the sole custodian of this evidence. Having chosen to bring a
              28 case of this magnitude and to place these purportedly deliberative materials

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                   1 directly at issue, the government cannot now hide behind a narrow, qualified
                   2 privilege to prevent United from obtaining materials it needs to fully defend itself.
                   3         B.    Government
                   4         United’s motion to compel is ill-considered and ill-timed. Prudence dictates
                   5 that this Court await substantive rulings on the four motions that have been briefed,
                   6 heard, and now await rulings. Particularly given the overbreadth of United’s
                   7 voluminous requests, the doubtful relevancy of the documents it seeks, and the
                   8 genuine harm to the internal deliberation process that production would inflict on
                   9 the government, a reasonable approach at this stage would be to permit Judge
              10 Fitzgerald to make substantive rulings that would provide much needed guidance
              11 in this case. Additionally, the government has properly invoked the deliberative
              12 process privilege as to a narrow category of documents, establishing by appropriate
              13 declarations that they are both predecisonal and deliberative and that harm would
              14 result from their disclosure. Finally, United has failed to show that its purported
              15 need for these documents outweighs the government’s interest in maintaining
              16 privilege. For the foregoing reasons, United’s motion should be denied.
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                   1       IT IS SO STIPULATED.
                   2
                   3 Dated: November 9, 2018      LATHAM & WATKINS LLP

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                   5
                   6                              By: /s/ David J. Schindler
                                                      David J. Schindler
                   7
                                                      Attorneys for Defendant
                   8                                  United Defendants
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              10
              11 Dated: November 9, 2018          United States of America
              12
              13
              14                                  By: /s/ John E. Lee
                                                      John E. Lee
              15
              16                                      Assistant United States Attorney
                                                      Attorneys for the United States of America
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                   1                             FILER’S ATTESTATION
                   2        Pursuant to Civil Local Rule 5-4.3.4(a)(2)(i), the undersigned attests that
                   3 concurrence in the filing of this document was obtained from all parties whose
                   4 electronic signatures appear above.
                   5
                   6 Dated: November 9, 2018            LATHAM & WATKINS LLP

                   7
                   8
                   9                                    By: /s/ David J. Schindler
                                                            David J. Schindler
              10
                                                             Attorneys for Defendant
              11                                             United Defendants
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